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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
SARRI ANNE SINGER, JUDITH SINGER, ERIC M.                              :
SINGER, ROBERT SINGER, HARRY LEONARD                                   :
BEER, HARRY LEONARD BEER AS EXECUTOR OF :
THE ESTATE OF ALAN BEER, HARRY LEONARD :                                   COMPLAINT
BEER AS EXECUTOR OF THE ESTATE OF ANNA                                 :   JURY TRIAL DEMANDED
BEER, PHYLLIS MAISEL, ESTELLE CAROLL,                                  :
MOSES STRAUSS, PHILIP STRAUSS, BLUMA                                   :
STRAUSS, AHRON STRAUSS, ROISIE ENGELMAN, :                                 19-cv-6
JOSEPH STRAUSS, TZVI WEISS, LEIB WEISS, LEIB :
WEISS FOR THE ESTATE OF MALKA WEISS,                                   :
YITZCHAK WEISS, YERUCHAIM WEISS, ESTHER :
DEUTSCH, MATANYA NATHANSEN, CHANA                                      :
NATHANSEN, MATANYA NATHANSEN AND                                       :
CHANA NATHANSEN FOR THE ESTATE OF                                      :
TEHILLA NATHANSEN, YEHUDIT NATHANSEN, :
S.N., a minor, HEZEKIEL TOPOROWITCH, PEARL B. :
TOPOROWITCH, YEHUDA TOPOROWITCH,                                       :
DAVID TOPOROWITCH, SHAINA CHAVA NADEL, :
BLUMY ROM, RIVKA POLLACK, RACHEL                                       :
POTOLSKI, OVADIA TOPOROWITCH, TEHILLA                                  :
GREINIMAN, YISRAEL TOPOROWITCH,                                        :
YITZCHAK TOPOROWITCH, MICHAL                                           :
HONICKMAN FOR THE ESTATE OF HOWARD                                     :
GOLDSTEIN, MICHAL HONICKMAN, EUGENE                                    :
GOLDSTEIN, LORRAINE GOLDSTEIN, RICHARD                                 :
GOLDSTEIN, BARBARA GOLDSTEIN INGARDIA, :
MICHAEL GOLDSTEIN, CHANA FREEDMAN,                                     :
DAVID GOLDSTEIN, JULIE AVERBACH FOR THE :
ESTATE OF STEVEN AVERBACH, JULIE                                       :
AVERBACH, TAMIR AVERBACH, DEVIR                                        :
AVERBACH, SEAN AVERBACH, ADAM                                          :
AVERBACH, MAIDA AVERBACH FOR THE                                       :
ESTATE OF DAVID AVERBACH, MAIDA                                        :
AVERBACH, MICHAEL AVERBACH, EILEEN                                     :
SAPADIN, DANIEL ROZENSTEIN, JULIA                                      :
ROZENSTEIN SCHON, ALEXANDER ROZENSTEIN, :
ESTHER ROZENSTEIN, JACOB STEINMETZ,                                    :
DEBORAH STEINMETZ, JACOB STEINMETZ AND :
DEBORAH STEINMETZ FOR THE ESTATE OF                                    :
AMICHAI STEINMETZ, NAVA STEINMETZ, ORIT :
MAYERSON, NETANEL STEINMETZ, ANN                                       :
COULTER FOR THE ESTATE OF ROBERT L.                                    :
COULTER, SR., DIANNE COULTER MILLER,                                   :
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ROBERT L. COULTER, JR., DIANNE COULTER                                 :
MILLER AND ROBERT COULTER, JR. FOR THE                                 :
ESTATE OF JANIS RUTH COULTER, LARRY                                    :
CARTER AS THE ADMINISTRATOR OF THE                                     :
ESTATE OF DIANE LESLIE CARTER, LARRY                                   :
CARTER, SHAUN CHOFFEL, RICHARD                                         :
BLUTSTEIN AND KATHERINE BAKER FOR THE                                  :
ESTATE OF BENJAMIN BLUTSTEIN, RICHARD                                  :
BLUTSTEIN, KATHERINE BAKER, REBEKAH                                    :
BLUTSTEIN, NEVENKA GRITZ FOR THE ESTATE                                :
OF DAVID GRITZ, NEVENKA GRITZ, NEVENKA                                 :
GRITZ FOR THE ESTATE OF NORMAN GRITZ,                                  :
JACQUELINE CHAMBERS AND LEVANA COHEN                                   :
AS THE ADMINISTRATORS OF THE ESTATE OF                                 :
ESTHER BABLAR, JACQUELINE CHAMBERS,                                    :
LEVANA COHEN, ELI COHEN, SARAH ELYAKIM,                                :
JOSEPH COHEN, GRETA GELLER, ILANA                                      :
DORFMAN, REPHAEL KITSIS AND TOVA                                       :
GUTTMAN AS THE ADMINISTRATORS OF THE                                   :
ESTATE OF HANNAH ROGEN, TEMIMA SPETNER,                                :
JASON KIRSCHENBAUM, ISABELLE                                           :
KIRSCHENBAUM, ISABELLE KIRSCHENBAUM                                    :
FOR THE ESTATE OF MARTIN KIRSCHENBAUM,                                 :
JOSHUA KIRSCHENBAUM, SHOSHANA BURGETT,                                 :
DAVID KIRSCHENBAUM, DANIELLE                                           :
TEITELBAUM, NETANEL MILLER, CHAYA                                      :
MILLER, ARIE MILLER, AHARON MILLER, SHANI                              :
MILLER, ADIYA MILLER, ALTEA STEINHERZ,                                 :
JONATHAN STEINHERZ, TEMIMA STEINHERZ,                                  :
JOSEPH GINZBERG, PETER STEINHERZ, LAUREL                               :
STEINHERZ, GILA ALUF, YITZHAK ZAHAVY,                                  :
JULIE ZAHAVY, TZVEE ZAHAVY and BERNICE                                 :
ZAHAVY,                                                                :
                                                                       :
                   Plaintiffs,                                         :
                                                                       :
          -against-                                                    :
                                                                       :
                                                                       :
BANK OF PALESTINE,                                                     :
                                                                       :
                                                                       :
                   Defendant.                                          :
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Plaintiffs Sarri Anne Singer, Judith Singer, Eric M. Singer, Robert Singer, Harry Leonard Beer,
Harry Leonard Beer as Executor of the Estate of Alan Beer, Harry Leonard Beer as Executor of
the Estate of Anna Beer, Phyllis Maisel, Estelle Caroll, Moses Strauss, Philip Strauss, Bluma
Strauss, Ahron Strauss, Roisie Engelman, Joseph Strauss, Tzvi Weiss, Leib Weiss, Leib Weiss for
the Estate of Malka Weiss, Yitzchak Weiss, Yeruchaim Weiss, Esther Deutsch, Matanya
Nathansen, Chana Nathansen, Matanya Nathansen and Chana Nathansen for the Estate of Tehilla
Nathansen, Yehudit Nathansen, S.N., a minor, Hezekiel Toporowitch, Pearl B. Toporowitch,
Yehuda Toporowitch, David Toporowitch, Shaina Chava Nadel, Blumy Rom, Rivka Pollack,
Rachel Potolski, Ovadia Toporowitch, Tehilla Greiniman, Yisrael Toporowitch, Yitzchak
Toporowitch, Michal Honickman for the Estate of Howard Goldstein, Michal Honickman, Eugene
Goldstein, Lorraine Goldstein, Richard Goldstein, Barbara Goldstein Ingardia, Michael Goldstein,
Chana Freedman, David Goldstein, Julie Averbach for the Estate of Steven Averbach, Julie
Averbach, Tamir Averbach, Devir Averbach, Sean Averbach, Adam Averbach, Maida Averbach
for the Estate of David Averbach, Maida Averbach, Michael Averbach, Eileen Sapadin, Daniel
Rozenstein, Julia Rozenstein Schon, Alexander Rozenstein, Esther Rozenstein, Jacob Steinmetz,
Deborah Steinmetz, Jacob Steinmetz and Deborah Steinmetz for the Estate of Amichai Steinmetz,
Nava Steinmetz, Orit Mayerson, Netanel Steinmetz, Ann Coulter for the Estate of Robert L.
Coulter, Sr., Dianne Coulter Miller, Robert L. Coulter, Jr., Dianne Coulter Miller and Robert L.
Coulter, Jr. for the Estate of Janis Ruth Coulter, Larry Carter as the Administrator of the Estate of
Diane Leslie Carter, Larry Carter, Shaun Choffel, Richard Blutstein and Katherine Baker for the
Estate of Benjamin Blutstein, Richard Blutstein, Katherine Baker, Rebekah Blutstein, Nevenka
Gritz for the Estate of David Gritz, Nevenka Gritz, Nevenka Gritz for the Estate of Norman Gritz,
Jacqueline Chambers and Levana Cohen as the Administrators of the Estate of Esther Bablar,
Jacqueline Chambers, Levana Cohen, Eli Cohen, Sarah Elyakim, Joseph Cohen, Greta Geller,
Ilana Dorfman, Rephael Kitsis and Tova Guttman as the Administrators of the Estate of Hannah
Rogen, Temima Spetner, Jason Kirschenbaum, Isabelle Kirschenbaum, Isabelle Kirschenbaum for
the Estate of Martin Kirschenbaum, Joshua Kirschenbaum, Shoshana Burgett, David
Kirschenbaum, Danielle Teitelbaum, Netanel Miller, Chaya Miller, Arie Miller, Aharon Miller,
Shani Miller, Adiya Miller, Altea Steinherz, Jonathan Steinherz, Temima Steinherz, Joseph
Ginzberg, Peter Steinherz, Laurel Steinherz, Gila Aluf, Yitzhak Zahavy, Julie Zahavy, Tzvee
Zahavy and Bernice Zahavy, by their attorneys, allege the following:

                                  NATURE OF THE ACTION

       1.      This is a complaint for damages arising out of the unlawful conduct of BANK OF

PALESTINE – a Palestinian bank headquartered in Ain Misbah, Ramallah. BANK OF

PALESTINE aided and abetted the Islamic Resistance Movement (“HAMAS”), a Foreign

Terrorist Organization (“FTO”) (as that term is defined in 8 U.S.C. § 1189 of the Antiterrorism

and Effective Death Penalty Act of 1996 (“AEDPA”)) by knowingly providing substantial

assistance to HAMAS, and is civilly liable under 18 U.S.C. § 2333(d) of the Anti-Terrorism Act
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(“ATA”) to those American citizens (and their estates, survivors and heirs) who have been killed

or injured in their person by reason of such acts of international terrorism perpetrated by HAMAS.

       2.      BANK OF PALESTINE knowingly – and with awareness of its important role –

provided financial services to HAMAS in several related ways set forth below, by maintaining

accounts for, and facilitating substantial payments on behalf of, several of HAMAS’s leaders and

most prominent institutions.

                                 JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 18 U.S.C. §§ 2333 and 2338, as a civil action brought by citizens of the United States

who were killed or injured by reason of acts of international terrorism, and their estates, survivors,

and heirs.

       4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (d) and 18

U.S.C. § 2334(a).

       5.      BANK OF PALESTINE is subject to personal jurisdiction in the State of New York

pursuant to 18 U.S.C. § 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2) because it has

transacted business and committed tortious acts within the United States (and New York) by

transferring funds through the United States (and New York) for the benefit of the FTO HAMAS

and has purposefully availed itself of United States jurisdiction in the course of committing the

wrongful acts alleged herein.

       6.      Specifically, BANK OF PALESTINE effectuated its U.S. dollar-denominated

funds transfers through correspondent bank accounts at three banks located in New York: Citibank,

N.A. (111 Wall Street, 19th Floor, New York, NY 10043) JP Morgan Chase Bank (4 Chase

Metrotech, Brooklyn, NY 11245) and Union Bank of California N.A.




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        7.        During the relevant period, BANK OF PALESTINE purposefully and knowingly

used its correspondent bank accounts in New York to facilitate a large volume of U.S. dollar-

denominated funds transfers to HAMAS.

                                           THE PARTIES

        A.        The Plaintiffs

                   THE JAFFA ROAD BUS #14A BOMBING – JUNE 11, 2003

        8.        At approximately 5:30 p.m. on June 11, 2003, Abd el-Mu’ati Shabana, a HAMAS

suicide bomber dressed as an ultra-Orthodox Jew, boarded Egged Bus #14A at the Mahane Yehuda

market. A short while later, as the bus drove down Jaffa Road near the Davidka Square, Shabana

detonated his bomb, destroying the bus and killing 17 people and injuring over 100 more, including

dozens of bystanders.

The Singer Family

        9.        Plaintiff Sarri Anne Singer is a citizen of the United States and a resident of the

State of New Jersey.

        10.       On June 11, 2003, Sarri boarded Bus #14A in Jerusalem to meet a friend for dinner.

The bus was filled with rush hour commuters. Eventually she was able to take a seat near the

window.

        11.       Shortly thereafter, Shabana detonated his bomb only two to three seats away from

where Sarri was seated, killing everyone sitting and standing near her and causing the roof of the

bus to fall in.

        12.       When the explosives were detonated, Sarri felt a shockwave across her face.

        13.       Sarri was struck with shrapnel from the explosion that entered her shoulder and

broke her clavicle.




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        14.     After the blast, she was unable to open her left eye, and her right eye was extremely

restricted.

        15.     Sarri was unable to hear because of a loud ringing in her ears, and her eardrums

ruptured.

        16.     Barely walking, Sarri was taken to an ambulance.

        17.     She incurred wounds to her face and legs resulting in scarring. She underwent

physical therapy and additional surgery.

        18.     Shrapnel lodged in Sarri’s gums, moving her teeth and necessitating dental work.

        19.     As a result of the attack, plaintiff Sarri Anne Singer has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

        20.     Plaintiff Judith Singer is a citizen of the United States and a resident of the State of

New Jersey. She is the mother of plaintiff Sarri Anne Singer.

        21.     Judith learned of the attack when her son telephoned her at work.

        22.     As a result of the attack, plaintiff Judith Singer has experienced severe mental

anguish and extreme emotional distress.

        23.     Plaintiff Eric M. Singer is a citizen of the United States and a resident of the State

of New Jersey. He is the brother of plaintiff Sarri Anne Singer.

        24.     Eric first learned of the attack when he received an emergency phone call from his

father while Eric was having lunch in a restaurant. After speaking with his mother and notifying

his office, Eric and his father flew that night to Israel to be with Sarri.

        25.     As a result of the attack, plaintiff Eric M. Singer has experienced severe mental

anguish and extreme emotional distress.

        26.     Plaintiff Robert Singer is a citizen of the United States and a resident of the State




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of New Jersey. He is the father of plaintiff Sarri Anne Singer.

        27.     After learning of the attack, Robert traveled to Israel to be with his daughter.

        28.     As a result of the attack, plaintiff Robert Singer has experienced severe mental

anguish and extreme emotional distress.

The Beer Family

        29.     Alan Beer was a citizen of the United States when he died.

        30.     Alan was on the bus returning from a condolence call to his friend’s family when

Shabana detonated his explosives and killed him.

        31.     Alan’s friend, to whom he had paid the condolence call, learned of the bus bombing

and telephoned plaintiff Harry Leonard Beer, Alan’s brother, in Cleveland, Ohio. Harry quickly

telephoned his sister, plaintiff Phyllis Maisel, whose son happened to have been in the area of the

bombing earlier. Harry then telephoned his other sister, plaintiff Estelle Caroll, and informed her

of the terrorist attack.

        32.     After speaking with her brother, Phyllis asked her son to return to the crime scene

and identify Alan’s body. Thereafter, Alan’s mother, Anna Beer, Harry Leonard Beer and Estelle

Caroll flew to Israel to attend Alan’s funeral.

        33.     Plaintiff Harry Leonard Beer is a citizen of the United States and a resident of the

State of Ohio. He is the brother of Alan Beer.

        34.     Anna Beer was a citizen of the United States and a resident of the State of Ohio

when she died in 2016. She was the mother of Alan Beer.

        35.     Plaintiff Harry Leonard Beer brings this action in his individual capacity, as the

executor of the Estate of Alan Beer, and as the executor of the Estate of Anna Beer.

        36.     As a result of Alan’s death, plaintiff Harry Leonard Beer has experienced emotional




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pain and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and

severe mental anguish and extreme emotional distress.

        37.      Plaintiff Estelle Caroll is a citizen of the United States and a resident of the State

of Virginia. She is a sister of Alan Beer.

        38.      Plaintiff Phyllis Maisel is a citizen of the United States and a resident of the State

of Israel. She is a sister of Alan Beer.

        39.      As a result of Alan’s death, plaintiffs Estelle Caroll and Phyllis Maisel have

experienced emotional pain and suffering, loss of their brother’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

        40.      As a result of Alan’s death, (before her death) Anna Beer experienced emotional

pain and suffering, loss of her youngest child’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

              THE JERUSALEM EGGED BUS #2 BOMBING – AUGUST 19, 2003

        41.      On August 19, 2003, Ra’ed Abdul Hamid Misk, a HAMAS suicide bomber,

detonated explosives on Egged Bus #2.

        42.      Twenty-three people were killed and over 130 others were injured in the attack.

The Strauss Family

        43.      Plaintiff Moses Strauss is a citizen of the United States and a resident of the State

of New Jersey.

        44.      Moses was studying in Israel in 2003, and was planning to return to the United

States in April 2004.

        45.      At around 9:00 pm on August 19, 2003, he boarded Egged Bus #2 in Jerusalem

after praying at the Kotel (also known as the “Western Wall” or “Wailing Wall”).




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        46.    Approximately 15 minutes into the bus ride, Moses heard a deafening boom when

Misk detonated the explosives on the bus.

        47.    Moses fell forward as a result of the explosion. His eyeglasses, jacket, hat and cell

phone flew off his body.

        48.    As Moses regained his bearings and realized what had occurred, he witnessed

people screaming and crying, and he saw blood and body parts all around him.

        49.    His clothes were covered with blood, and his hearing was severely impaired.

        50.    To exit the bus, Moses stepped over bodies, and in a state of shock made his way

toward his apartment. As he reached the corner near his apartment, he saw a friend, and they went

into his friend’s apartment and telephoned Moses’s father, plaintiff Philip Strauss, to tell him

Moses had been in an attack, but was alive. After making the telephone call, the friend drove Moses

to Hadassah Hospital.

        51.    As a result of the explosion, Moses’s body ached, especially his right ear and hand.

After arriving at the hospital, he underwent numerous tests, and doctors removed the shrapnel from

his ear and hand.

        52.    Days after the attack, Moses still experienced agonizing pain in his ear, and his

hearing loss did not improve.

        53.    After the attack, Moses returned to the United States without completing his studies

in Israel.

        54.    Moses was examined by medical specialists in both Israel and the United States.

Both physicians confirmed that he would require surgery on his ear.

        55.    In the winter of 2004, Moses underwent ear surgery in the United States. His ear is

still not completely healed, and he has been told that his condition will never improve. An ear




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 specialist continues to monitor his condition.

          56.   Moses continues to relive the attack, the images of the attack replaying in his mind

 daily.

          57.   As a result of the attack, plaintiff Moses Strauss has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

          58.   Plaintiff Philip Strauss is a citizen of the United States and a resident of the State

 of New York. He is the father of plaintiff Moses Strauss.

          59.   Plaintiff Bluma Strauss is a citizen of the United States and a resident of the State

 of New York. She is the mother of plaintiff Moses Strauss.

          60.   After hearing of the attack, Bluma attempted unsuccessfully to reach Moses on his

 cell phone. When she tried to reach him at his apartment, someone else answered the telephone

 and said that her son was not there. Bluma grew increasingly concerned.

          61.   Upon learning that her son was injured in the bombing, Bluma’s distress grew.

          62.   As a result of the attack, plaintiffs Philip Strauss and Bluma Strauss have

 experienced severe mental anguish and extreme emotional distress.

          63.   Plaintiff Ahron Strauss is a citizen of the United States and a resident of the State

 of New Jersey. He is a brother of plaintiff Moses Strauss.

          64.   Plaintiff Roisie Engelman is a citizen of the United States and a resident of the State

 of New Jersey. She is the sister of plaintiff Moses Strauss.

          65.   Roisie Engelman was on vacation when she received a telephone call advising her

 that there had been a bombing in Israel. Roisie attempted to contact Moses on his cellular telephone

 but was unable to reach him. She also telephoned her other brother, Ahron, attempting to locate

 Moses or her parents.




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        66.     When Roisie finally received the news that Moses had been injured in the bus

 bombing, she was very concerned and extremely anxious.

        67.     Plaintiff Joseph Strauss is a citizen of the United States and a resident of the State

 of New Jersey. He is a brother of plaintiff Moses Strauss.

        68.     Joseph learned of the attack while watching the news on an airplane. He was aware

 that the bombing had occurred near the neighborhood where Moses lived. Upon arriving in

 California, Joseph spoke to his parents and learned of Moses’s condition. During the plane flight,

 Joseph experienced great anxiety because he was uncertain if his brother had been present at the

 bombing.

        69.     Ahron Strauss, Roisie Engelman and Joseph Strauss experienced great anxiety after

 learning of the attack that caused the injuries that Moses sustained.

        70.     As a result of the attack, plaintiffs Ahron Strauss, Roisie Engelman and Joseph

 Strauss have experienced severe mental anguish and extreme emotional distress.

 The Weiss Family

        71.     Plaintiff Tzvi Weiss is a citizen of the United States and a resident of the State of

 New Jersey.

        72.     Tzvi was in Israel studying at a rabbinical college in 2003 and was planning to

 return to the United States on August 21, 2003.

        73.     On the evening of August 19, 2003, Tzvi boarded Egged Bus #2 in Jerusalem after

 visiting the Kotel, Judaism’s holiest site, to pray. He was on his way to a friend’s wedding.

        74.     As the bus arrived at Shmuel Hanavi Street, he heard a terrible explosion.

 Everything went black, and he could not hear anything but a deafening ringing in his ears.

        75.     In the panicked aftermath of the explosion, Tzvi jumped out of a window of the bus




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 and began to run, stumbling over dead bodies and body parts as he fled the scene.

        76.       Tzvi was covered with blood, and his hand had been cut. His body was shaking

 from the shock of the experience, and he had a constant terrible ringing in his ears.

        77.       Once he got his bearings, Tzvi telephoned one of his brothers, plaintiff Yitzchak

 Weiss, and waited for him to arrive to accompany him to the hospital.

        78.       An ambulance transported Tzvi to Bikur Cholim Hospital where he underwent

 medical tests.

        79.       Both of his eardrums had been completely torn, and his hearing in his left ear was

 severely impaired. He continued to experience severe pain in his hand and was unable to bend his

 fingers.

        80.       Tzvi decided to return home to the United States to be near his family while he

 began recovering from the injuries and the effects of having been a victim of a terrorist attack. He

 returned to the United States the following day and visited an ear specialist within hours of his

 arrival. He underwent tests and was advised to have surgery on his left ear to attempt to regain

 some of his hearing loss in that ear. Tzvi obtained a second opinion from another doctor who

 agreed with the diagnosis.

        81.       After a number of examinations by the initial physician, and after treatment with

 antibiotics, Tzvi underwent surgery on his left ear. After the surgery, the incessant ringing in his

 ears became louder and worse than before.

        82.       Tzvi also visited another physician for treatment of the severe pain in his hand. He

 was told the injuries might require surgery.

        83.       Tzvi continued to visit doctors on numerous occasions to assess his ears, and

 underwent many tests, but the agonizing ringing continued. Eventually, it was determined that the




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 surgery on Tzvi’s left ear had not been successful. Tzvi suffered numerous panic attacks because

 of his injuries and the symptoms that continued to affect him.

        84.     As a result of the injuries that he sustained in the attack, combined with the

 memories of the attack itself, Tzvi’s mental health deteriorated. The suffering that Tzvi has

 endured as a result of the injuries he sustained in the attack is ongoing and relentless. It has

 negatively impacted every aspect of his life.

        85.     Tzvi enrolled in rabbinical college upon his return to the United States, but the

 injuries and their symptoms prevented him from concentrating on his schoolwork, and he could

 no longer realize the academic success that he had achieved prior to the attack.

        86.     As a result of the attack, plaintiff Tzvi Weiss has sustained severe physical injuries

 and experienced severe mental anguish and extreme emotional distress.

        87.     Plaintiff Leib Weiss is a citizen of the United States and a resident of the State of

 New York. He is the father of plaintiff Tzvi Weiss.

        88.     Malka Weiss was a citizen of the United States and a resident of the State of New

 York when she died in 2018. She was the mother of plaintiff Tzvi Weiss.

        89.     Plaintiff Leib Weiss brings this action both individually and as the legal

 representative of the Estate of Malka Weiss.

        90.     Leib Weiss and Malka Weiss experienced great anxiety after learning of the attack

 that injured Tzvi and observing the suffering that he has endured as a result of his injuries.

        91.     As a result of the attack, plaintiffs Leib Weiss and Malka Weiss (before her death)

 have experienced severe mental anguish and extreme emotional distress.

        92.     Plaintiff Yitzchak Weiss is a citizen of the United States and a resident of the State

 of Israel. He is a brother of plaintiff Tzvi Weiss.




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         93.     Plaintiff Yeruchaim Weiss is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Tzvi Weiss.

         94.     Plaintiff Esther Deutsch is a citizen of the United States and a resident of the State

 of New York. She is the sister of plaintiff Tzvi Weiss.

         95.     Yitzchak Weiss, Yeruchaim Weiss and Esther Deutsch experienced great anxiety

 after learning of the attack that injured Tzvi and observing the suffering that he has endured as a

 result of his injuries.

         96.     As a result of the attack, plaintiffs Yitzchak Weiss, Yeruchaim Weiss and Esther

 Deutsch have experienced severe mental anguish and extreme emotional distress.

 The Nathansen/Toporowitch Family

         97.     Tehilla Nathansen was a citizen of the United States and a resident of the State of

 Israel when she died.

         98.     Tehilla was three (3) years old and sitting on her mother’s lap when she was

 murdered in the suicide bomb attack on August 19, 2003.

         99.     The Nathansen family had boarded the bus at the Kotel in Jerusalem, where they

 had just completed their prayers.

         100.    Plaintiff Matanya Nathansen is a citizen and resident of the State of Israel. He is

 the father of Tehilla Nathansen.

         101.    Plaintiff Chana Nathansen is a citizen of the United States and a resident of the

 State of Israel. She is the mother of Tehilla Nathansen.

         102.    Plaintiffs Matanya Nathansen and Chana Nathansen bring this action individually,

 on behalf of the Estate of Tehilla Nathansen, and on behalf of their minor daughter, S.N.

         103.    As a result of the explosion, Matanya suffered fractures in both feet and in his collar




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 bone, and sustained injuries to his lungs, eye and finger. He is now hearing impaired and can no

 longer walk properly.

         104.      As a result of the attack, plaintiff Matanya Nathansen has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress from the injuries

 he sustained, from witnessing and experiencing first-hand the death of his 3-year-old daughter,

 Tehilla, as well as the severe injuries sustained by his wife and young daughters (all of whom are

 U.S. citizens).

         105.      Chana was severely injured in the explosion that killed Tehilla, was taken to

 Hadassah Hospital, and remained there for 12 days.

         106.      Although Chana repeatedly asked about Tehilla’s whereabouts, she did not learn

 until the next day that she had been killed. That uncertainty was torture for Chana.

         107.      Chana’s spleen was torn, and her ribs were broken.

         108.      She had seven ball bearings that caused holes in her chest, leg and arm that had to

 be removed from her body.

         109.      She has undergone numerous surgeries.

         110.      Shrapnel lodged throughout her body, including her eye.

         111.      Chana’s hip was crushed, necessitating a hip replacement. She still experiences pain

 in that area.

         112.      Her hearing is impaired and she suffers from tinnitus.

         113.      Chana cannot walk long distances, and she has a limited range of movement.

         114.      She feels indescribable pain at losing Tehilla and seeing her daughter Yehudit

 injured and her daughter S.N. severely injured.

         115.      Chana has undergone psychological counseling.




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        116.    As a result of the attack, plaintiff Chana Nathansen has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress from the injuries

 she sustained, from witnessing and experiencing first-hand the death of her 3-year-old daughter,

 Tehilla, and witnessing the severe injuries sustained by her daughters, plaintiff S.N., a minor, and

 plaintiff Yehudit Nathansen.

        117.    Plaintiff Yehudit Nathansen is a citizen of the United States and a resident of the

 State of Israel. She is a daughter of plaintiffs Chana Nathansen and Matanya Nathansen, and the

 sister of Tehilla Nathansen and plaintiff S.N.

        118.    At the time of the explosion, Yehudit was sitting with her aunt, a few seats away

 from her parents.

        119.    Yehudit incurred cuts on her neck and waist from the explosion and was treated at

 Bikur Cholim Hospital in Jerusalem.

        120.    She hears constant noise in her ears, which makes her tense.

        121.    Yehudit suffered nightmares, sadness and guilt and underwent psychological

 counseling.

        122.    As a result of the attack, plaintiff Yehudit Nathansen has sustained physical injuries

 and experienced severe mental anguish and extreme emotional distress due to her own injuries and

 from witnessing and experiencing first-hand the death of her 3-year-old sister, Tehilla, as well as

 the severe injuries sustained by her mother, father, and baby sister.

        123.    Plaintiff S.N., a minor, is a citizen of the United States and a resident of the State

 of Israel. She is a daughter of Chana Nathansen and Matanya Nathansen, and the sister of Tehilla

 Nathansen and plaintiff Yehudit Nathansen.

        124.    S.N. was sitting on Chana’s lap at the time of the explosion. She was 5 months old




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 at the time. As a result of the explosion, S.N. sustained burns all over her face, and her eardrums

 were ruptured.

        125.       She suffered bilateral lung contusions and a fracture of her left femur and right leg

 and hip, deep lacerations in her arm that have left permanent scars, and scars on her face and legs.

        126.       S.N. also had multiple shrapnel and metal pellets lodged in her body, including in

 her eyes, and a laceration of the bone of her left forearm and in her left wrist. She has pain in her

 upper left arm.

        127.       She is hearing impaired and suffers from tinnitus.

        128.       She underwent psychological counseling.

        129.       As a result of the attack, plaintiff S.N. has sustained severe physical injuries and

 experienced severe mental anguish and extreme emotional distress.

        130.       Plaintiff Hezekial Toporowitch is a citizen of the United States and a resident of

 the State of Israel. He is the father of plaintiff Chana Nathansen and the grandfather of the three

 Nathansen girls.

        131.       Plaintiff Pearl B. Toporowitch is a citizen of the United States and a resident of the

 State of Israel. She is the mother of plaintiff Chana Nathansen and the grandmother of the three

 Nathansen girls.

        132.       In the middle of the night, Hezekial and Pearl were notified by telephone of the

 bombing that had killed their granddaughter, Tehilla, and crippled their daughter, Chana. That

 night they traveled to Jerusalem. Pearl attempted to obtain further details about the condition of

 her son-in-law and her granddaughters.

        133.       In the aftermath of the bombing, Chana, Matanya, and their children were

 transferred to different hospitals thereby complicating the family’s efforts to locate them.




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        134.    Hezekial was supposed to travel to the central morgue in Holon to attempt to

 identify his granddaughter’s body, but was in too much shock to do so. He was initially told to

 identify the bodies of two granddaughters since S.N. had not yet been identified at the hospital and

 was thought to be deceased.

        135.    As a result of the attack, plaintiff Hezekial Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old

 granddaughter, Tehilla, as well as the severe injuries sustained by his daughter, and injuries

 sustained by his granddaughters and son-in-law.

        136.    As a result of the attack, plaintiff Pearl B. Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of her 3-year-old

 granddaughter, Tehilla, as well as the severe injuries sustained by her daughter, and injuries

 sustained by her granddaughters and son-in-law.

        137.    Plaintiff Yehuda Toporowitch is a citizen of the United States and a resident of the

 State of New Jersey. He is a brother of plaintiff Chana Nathansen and an uncle of the three

 Nathansen girls.

        138.    In the middle of the night Yehuda was notified by telephone of the bombing that

 had killed his niece and crippled his sister.

        139.    He had been working at a resort when he received the telephone call, and quickly

 rushed to a nearby television where graphic images of the bombsite were being broadcast by Israeli

 television.

        140.    Yehuda rushed home, traveled with his parents to the Tel Aviv area, and stopped at

 the home of one of his sisters. He took a taxicab to the central morgue and attempted to identify

 Tehilla’s remains but could not positively identify them because of the nature and extent of




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 Tehilla’s injuries.

          141.   Yehuda then made arrangements for necessary DNA testing, which ultimately

 confirmed his niece’s identity.

          142.   As a result of the attack, plaintiff Yehuda Toporowitch has experienced severe

 mental anguish and extreme emotional distress from the death of his 3-year-old niece, Tehilla, and

 the attempt to identify her remains. He has also experienced severe mental anguish and extreme

 emotional distress as a result of the severe injuries sustained by his sister and other niece and

 injuries to his brother-in-law.

          143.   Plaintiff David Toporowitch is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          144.   David was not present when his parents were notified by telephone of the bombing

 that killed his niece and crippled his sister. Instead, he had to piece together the events by himself

 after his family had already left for Jerusalem.

          145.   Like the rest of his immediate family, David visited his sister and niece in the

 hospital and experienced the shock and severe mental anguish and extreme emotional distress

 resulting from the emotional trauma of burying his young niece and dealing with the pain and loss

 experienced by his sister.

          146.   As a result of the attack, plaintiff David Toporowitch has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

 Tehilla, as well as the severe injuries sustained by his sister and other niece.

          147.   Plaintiff Shaina Chava Nadel is a citizen of the United States and a resident of the

 State of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.




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           148.   Like the rest of her immediate family, Shaina visited her sister and niece in the

 hospital and experienced the shock and mental anguish resulting from the emotional trauma of

 burying her young niece and dealing with the pain and loss experienced by her sister.

           149.   As a result of the attack, plaintiff Shaina Chava Nadel has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of her 3-year-old

 niece, Tehilla, as well as the severe injuries sustained by her sister and other niece and injuries to

 her brother-in-law.

           150.   Plaintiff Blumy Rom is a citizen of the United States and a resident of the State of

 Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

           151.   Like the rest of her immediate family, Blumy visited her sister and niece in the

 hospital and experienced the shock and mental distress resulting from the emotional trauma of

 burying her young niece, Tehilla, and dealing with the pain and loss experienced by her younger

 sister.

           152.   As a result of the attack, plaintiff Blumy Rom has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries sustained by her sister and other niece and injuries to her

 brother-in-law.

           153.   Plaintiff Rivka Pollack is a citizen of the United States and a resident of the State

 of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

           154.   Like the rest of her immediate family, Rivka visited her sister and niece in the

 hospital and experienced severe mental anguish and extreme emotional distress from burying her

 young niece and dealing with the pain and loss experienced by her older sister and injuries to her

 brother-in-law.




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          155.   She stayed with her baby niece S.N., caring for her during the two weeks that she

 was hospitalized and for two months after her discharge from the hospital. Having to change the

 dressings on her niece’s wounds, care for her various injuries, and take her to doctors, has deeply

 affected her.

          156.   As a result of the attack, plaintiff Rivka Pollack has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by her sister, other niece and brother-in-law.

          157.   Plaintiff Rachel Potolski is a citizen of the United States and a resident of the State

 of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

          158.   Like the rest of her immediate family, Rachel experienced the shock and mental

 distress resulting from the emotional trauma of burying her young niece, Tehilla, and dealing with

 the pain and loss experienced by her younger sister.

          159.   As a result of the attack, plaintiff Rachel Potolski has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by her sister, other niece and brother-in-law.

          160.   Plaintiff Ovadia Toporowitch is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          161.   Like the rest of his immediate family, Ovadia experienced the shock and mental

 distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with

 the pain and loss experienced by his younger sister.

          162.   As a result of the attack, plaintiff Ovadia Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,




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 Tehilla, as well as the severe injuries incurred by his sister, other niece and brother-in-law.

          163.   Plaintiff Tehilla Greiniman is a citizen of the United States and a resident of the

 State of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

          164.   Like the rest of her immediate family, Tehilla experienced the shock and mental

 distress resulting from the emotional trauma of burying her young niece, Tehilla, and dealing with

 the pain and loss experienced by her younger sister.

          165.   As a result of the attack, plaintiff Tehilla Greiniman has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by her sister, other niece and brother-in-law.

          166.   Plaintiff Yisrael Toporowitch is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          167.   Like the rest of his immediate family, Yisrael experienced the shock and mental

 distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with

 the pain and loss experienced by his younger sister.

          168.   As a result of the attack, plaintiff Yisrael Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by his sister, other niece and brother-in-law.

          169.   Plaintiff Yitzchak Toporowitch is a citizen of the United States and a resident of

 the State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          170.   Like the rest of his immediate family, Yitzchak experienced the shock and mental

 distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with




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 the pain and loss experienced by his younger sister.

        171.      As a result of the attack, plaintiff Yitzchak Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by his sister, other niece and brother-in-law.

                  THE SHOOTING ATTACK ON ROUTE #60 – JUNE 20, 2003

        172.      On June 20, 2003, Ahmad Najjar and Farah Hamad, two HAMAS terrorists,

 perpetrated a shooting attack on Route #60 near the Yabroud underpass, killing one person and

 seriously injuring three others.

 The Goldstein Family

        173.      Howard Goldstein was a citizen of the United States and a resident of the State of

 Israel when he died.

        174.      He was murdered on June 20, 2003, while driving his car with his parents on Route

 #60 in Israel.

        175.      Howard was driving his parents and his wife from Eli to Jerusalem where they had

 stayed the previous night following the wedding of Howard’s son, plaintiff David Goldstein.

 Howard and his wife and parents were traveling for a weekend in Jerusalem to further celebrate

 David’s wedding (which had taken place the previous night).

        176.      While Howard was driving, Howard’s father, plaintiff Eugene Goldstein, was

 seated in the front passenger seat and Howard’s mother, plaintiff Lorraine Goldstein, was seated

 behind her husband. Howard’s wife, plaintiff Michal Goldstein (now Michal Honickman), was

 seated in the rear seat of the car, on the driver’s side, behind Howard.

        177.      At some point, as Howard was driving, Eugene noticed two individuals on the side

 of the road near the Yabroud underpass. As the Goldsteins’ car approached, the men turned and




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 began rapidly firing their guns at the Goldsteins’ vehicle.

        178.    Howard was struck by at least one bullet and ultimately succumbed to his injuries

 while driving and slumped over the steering wheel.

        179.    At some point in time, while Howard was slumped over the steering wheel, Eugene

 grabbed the steering wheel and maintained control of the car until it crashed and rolled over,

 approximately eight miles south of where the HAMAS gunmen had opened fire.

        180.    Plaintiff Michal Honickman, formerly known as Mindy Goldstein, is a citizen of

 the United States and a resident of the State of Nevada. She is the widow of Howard Goldstein.

        181.    Plaintiff Michal Honickman brings this action both individually and as the legal

 representative of the Estate of Howard Goldstein.

        182.    As a result of the attack, Michal was injured when glass fragments from the

 vehicle’s windows struck her body, including her left eye. She also sustained hairline fractures of

 her ribs, bruising, and physical trauma when the vehicle eventually crashed and rolled over.

        183.    Michal has sustained severe physical injuries and experienced severe mental

 anguish and extreme emotional distress having been present during the attack, and witnessed the

 death of her husband, whom she had to bury and mourn with her children, while her in-laws were

 hospitalized, all in the context of what had been, prior to that point, a joyous family occasion

 celebrating her son David’s wedding.

        184.    As a result of Howard’s death, plaintiff Michal Honickman experienced emotional

 pain and suffering, loss of her husband’s society, companionship, comfort, advice and counsel,

 and severe mental anguish and extreme emotional distress.

        185.    Plaintiff Eugene Goldstein is a citizen of the United States and a resident of the

 State of Florida. He is the father of Howard Goldstein.




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        186.    Plaintiff Lorraine Goldstein is a citizen of the United States and a resident of the

 State of Florida. She is the mother of Howard Goldstein.

        187.    Eugene suffered multiple gunshot wounds in the attack.

        188.    His shoulder blade was fractured, and his lungs were punctured. Shrapnel was

 lodged in his lung, liver and kidneys. A bullet remains stuck between his heart and his lungs.

        189.    These injuries, which caused Eugene immense pain, were life threatening. Indeed

 it was highly improbable that Eugene would survive them.

        190.    Eugene’s injuries necessitated insertion of a trocar, a metal cylinder used to drain

 blood from his chest and facilitate insertion of a chest tube to maintain suction and permit healing

 of the lung. Insertions of a trocar and chest tube are extremely painful.

        191.    Eugene was unable to see Lorraine for approximately five days after the attack and

 did not have specific information about her condition. His uncertainty about Lorraine’s condition

 caused him immense anxiety.

        192.    As a result of the attack, Eugene still has several bullet fragments lodged in his

 chest. He must undergo an x-ray every three months to monitor their condition.

        193.    As a result of the attack, Eugene has difficulty falling and remaining asleep. He

 constantly replays the image of the attack in his mind.

        194.    He blames himself for taking his wife to attend his grandson’s wedding.

        195.    Lorraine was shot multiple times and severely injured in the attack.

        196.    She suffered a bullet fragment injury from a bullet that clipped the tip of her nose

 and her left upper lip and lodged in her mouth. The fragment necessitated intubation and

 emergency surgery, during which the fragment was removed from an area less than an inch from

 the carotid sheath, which contains the carotid artery and the internal jugular vein. Disruption of




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 either of them would have resulted in her death.

          197.   At one point during her hospital stay, Lorraine was placed on life support.

          198.   Lorraine’s chewing muscles were severely and permanently damaged, and she

 could not eat solid food for approximately one year.

          199.   She required physiotherapy that encompassed use of a ratchet-like device designed

 to force her jaws open. It was very painful.

          200.   Lorraine still requires physical therapy because the scar tissue in her jaw prevents

 her from fully opening it. She still suffers from pain and headaches.

          201.   She requires bridges (partials) because she lost her teeth as a result of the attack,

 and extensive periodontal and dental work.

          202.   She was also struck by bullets that entered her body through her left shoulder and

 right lower neck. The resulting wounds caused her excruciating pain at the time.

          203.   She must also deal with the harmful effects of shrapnel that lodged throughout her

 body, especially in her back. She also suffered a shattered nose and septum as well as various

 lacerations.

          204.   Lorraine had difficulty sleeping because she thought about Howard’s death.

          205.   Eugene and Lorraine remained in Jerusalem at Hadassah Hospital for

 approximately 10 days and were unable to return home when they were discharged from the

 hospital because the airline did not give Eugene permission to fly due to the poor condition of his

 lungs.

          206.   As a result of the attack, plaintiffs Eugene Goldstein and Lorraine Goldstein have

 sustained severe physical injuries and experienced severe mental anguish and extreme emotional

 distress.




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           207.   As a result of Howard’s death, plaintiffs Eugene Goldstein and Lorraine Goldstein

 have experienced emotional pain and suffering, loss of their son’s society, companionship,

 comfort, advice and counsel, and severe mental anguish and extreme emotional distress.

           208.   The Goldstein family in New York received notice of the attack from two cousins,

 one of whom saw images of the attack on the internet and sent an instant message to the immediate

 family.

           209.   The Goldstein family sat in horror as they watched images of the attack on the

 Cable News Network (CNN) shortly after the attack occurred. The video broadcast showed

 Howard, Eugene and Lorraine being pulled from the wreckage of the car Howard had been driving.

           210.   Lorraine’s face and hair were covered with blood.

           211.   Plaintiff Richard Goldstein is a citizen of the United States and a resident of the

 State of New York. He is a son of plaintiffs Eugene Goldstein and Lorraine Goldstein and a brother

 of Howard Goldstein.

           212.   After learning of the attack, plaintiff Richard Goldstein telephoned his sister,

 plaintiff Barbara Goldstein Ingardia, at work and asked her to return home immediately. When she

 arrived, her extended family was present. They shared the tragic news that their parents and brother

 had been attacked. Barbara then made plans to fly to Israel to care for her parents.

           213.   As a result of the attack, plaintiff Richard Goldstein has experienced severe mental

 anguish and extreme emotional distress caused by the life-threatening injuries to both of his

 parents.

           214.   As a result of Howard’s death, Richard Goldstein has experienced emotional pain

 and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.




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        215.    Plaintiff Barbara Goldstein Ingardia is a citizen of the United States and a resident

 of the State of New York. She is the daughter of plaintiffs Eugene Goldstein and Lorraine

 Goldstein and the sister of Howard Goldstein.

        216.    Barbara left her job and her immediate family behind and traveled to Israel to care

 for her parents in Israel during their recovery and to mourn the loss of her brother.

        217.    In addition to grappling with the devastating emotional consequences of her

 brother’s death, she was forced to deal with the uncertainty of her mother’s recovery due to her

 severe injuries and age.

        218.    Barbara blames herself for encouraging her parents to attend the wedding.

        219.    As a result of the attack, plaintiff Barbara Goldstein Ingardia has experienced

 severe mental anguish and extreme emotional distress caused by the life-threatening injuries to

 both of her parents.

        220.    As a result of Howard’s death, Barbara Goldstein Ingardia has experienced

 emotional pain and suffering, loss of her brother’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        221.    Plaintiff Michael Goldstein is a citizen of the United States and a resident of the

 State of Florida. He is a son of plaintiffs Eugene Goldstein and Lorraine Goldstein and a brother

 of Howard Goldstein.

        222.    As a result of the attack, plaintiff Michael Goldstein has experienced severe mental

 anguish and extreme emotional distress caused by the life-threatening injuries to both of his

 parents.

        223.    As a result of Howard’s death, Michael Goldstein has experienced emotional pain

 and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and




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 severe mental anguish and extreme emotional distress.

        224.    Plaintiff Chana Freedman is a citizen of the United States and a resident of the State

 of New York. She is the daughter of Howard Goldstein and plaintiff Michal Goldstein.

        225.    Chana and her husband were eating lunch at a mall in Jerusalem when they learned

 that her father and grandparents had been involved in what they believed to be an automobile

 accident.

        226.    Chana’s husband received a telephone call from his father informing the couple to

 go directly to Hadassah Hospital.

        227.    When Chana and her husband arrived at Hadassah Hospital, a social worker

 informed them that Chana’s father had died in the terrorist attack.

        228.    Chana informed her brother, David and his wife, who had just been married, of the

 attack when they arrived at the hospital.

        229.    As a result of Howard’s death, plaintiff Chana Freedman has experienced emotional

 pain and suffering, loss of her father’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

        230.    Plaintiff David Goldstein is a citizen of the United States and a resident of the State

 of Israel. He is the son of Howard Goldstein and plaintiff Michal Goldstein.

        231.    At the time of the attack, David was at a Jerusalem hotel awaiting his family’s

 arrival for weekend wedding celebrations when he was notified that something had happened to

 his parents and his grandparents, and that they had been taken to Hadassah Hospital.

        232.    Upon his arrival at the hospital, David learned that his father had been killed in the

 attack, and that his mother and grandparents had been injured.

        233.    Prior to the attack, David frequently spoke to his father, including on the morning




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 of his father’s death.

         234.    As a result of Howard’s death, plaintiff David Goldstein has experienced emotional

 pain and suffering, loss of his father’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

                    THE COMMUTER BUS #6 BOMBING – MAY 18, 2003

         235.    On May 18, 2003, Basem Takruri, a HAMAS suicide bomber, boarded Bus #6, a

 commuter bus heading for Jerusalem, and detonated his explosives.

         236.    Seven people ranging in age from 35 to 68, were killed by the explosion, and 20

 others were injured.

 The Averbach Family

         237.    Steven Averbach was a citizen of the United States and a resident of the State of

 Israel when he died.

         238.    Steven died in 2010 as a result of injuries sustained during the suicide bombing that

 occurred on May 18, 2003. He was 44 years old.

         239.    At the time of the attack Steven resided near Tel Aviv, Israel. He was a married

 father of four sons ranging in age from 2 to 13 at the time. Steven and his wife, Julie, were married

 in 1994 and have two sons together, Sean Averbach and Adam Averbach.

         240.    Steven’s older sons, Tamir and Devir are from a prior marriage.

         241.    On May 18, 2003, Steven boarded the commuter bus heading for Jerusalem and

 took a seat facing the back.

         242.    As the bus pulled away from the stop, it suddenly stopped and the bus driver

 allowed another passenger to get on.

         243.    Steven caught a glimpse of him and saw that he was wearing a heavy coat in warm




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 weather that covered bulges underneath it. He also saw what looked like a trigger mechanism in

 his right hand.

        244.       Having worked in the anti-terrorist division in the Israeli Army and the Israeli

 Police, knowing that Israeli buses do not usually pick up passengers after they have begun to leave

 the station, seeing the tension on the faces of the people on the bus, and taking into account

 Takruri’s aforementioned suspicious characteristics, Steven immediately recognized that a

 terrorist attack was imminent.

        245.       Steven grabbed the gun he carried and turned toward Takruri, who detonated the

 explosives.

        246.       Steven absorbed a substantial amount of the impact of the explosion and multiple

 pieces of shrapnel.

        247.       Steven sustained a critical wound when a ball bearing originally packed together

 with the bomber’s explosives penetrated through the skin and muscles of his neck and lodged

 between his C3 and C4 vertebrae. The ball bearing lodged in his spinal canal causing severe

 compression damage to his spinal cord. The object was eventually removed during surgery, but

 not before it had caused severe damage to his spinal cord that rendered him a quadriplegic.

        248.       Following surgery, Steve was moved to intensive care where he stayed for five

 weeks. He almost died there several times because of an extremely high fever and from the blast

 injury to his lungs. He subsequently underwent numerous operations to his back, groin and gastric

 intestines. He also had a tracheotomy and had a gastric feeding tube inserted as a result of the

 damage caused by the tracheotomy.

        249.       Steven was forced to return to the Intensive Care Unit at least twice with

 complications.




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          250.   Steven was paralyzed from his neck down.

          251.   On more than one occasion, Steven pleaded with his doctors and family members

 to take him off of life support.

          252.   He was completely dependent on the 24-hour care provided to him, and had no

 foreseeable hope of recovery.

          253.   Steven lived in constant pain. He battled depression and took antidepressants.

          254.   As a result of the attack, Steven Averbach sustained severe physical injuries and

 experienced severe mental anguish and extreme emotional distress from May 18, 2003 until his

 death.

          255.   Plaintiff Julie Averbach is a citizen and resident of the State of Israel. She is the

 widow of Steven Averbach, and the mother of plaintiffs Sean Averbach and Adam Averbach.

          256.   Plaintiff Julie Averbach brings this action both individually and as the legal

 representative of the Estate of Steven Averbach.

          257.   As a result of the injuries Steven sustained, Julie had to relocate her family to be

 closer to the rehabilitation center where Steven resided for nearly a year. Steven moved home from

 the rehabilitation center in July 2004, but required continuous 24-hour care. Following the attack,

 Julie was, in most respects, a single parent and could not enjoy the normal companionship, day-

 to-day assistance and mutual support that she had previously received from her husband.

          258.   Julie underwent psychological counseling after the attack.

          259.   As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Julie Averbach has

 experienced emotional pain and suffering, loss of her husband’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.




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         260.   Plaintiff Tamir Averbach is a citizen of the United States and a resident of the State

 of New Jersey. He is a son of Steven Averbach and Steven’s first wife.

         261.   After the attack, Tamir underwent psychological counseling for approximately one

 year.

         262.   As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Tamir Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

         263.   Plaintiff Devir Averbach is a citizen of the United States and a resident of the State

 of New Jersey. He is a son of Steven Averbach and Steven’s first wife.

         264.   After the attack, Devir experienced difficulty making friends, his grades declined,

 he cried, and he felt angry. He also underwent psychological counseling.

         265.   Tamir and Devir witnessed their father’s relentless and painful suffering and

 repeated surgeries and brushes with death. They remember what it was like before the attack, when

 he was an able-bodied man.

         266.   As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Devir Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

         267.   Plaintiff Sean Averbach is a citizen of the United States and a resident of the State

 of Israel. He is a son of Steven Averbach and Julie Averbach.

         268.   As a result of the brutal attack on his father, he has been emotionally traumatized

 and has lost the sense of protection and safety he once enjoyed from his father. Due to the severity




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 of his father’s injuries, ordinary companionship and simple pleasures of traveling with or playing

 sports with his father were denied to him.

        269.    As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Sean Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        270.    Plaintiff Adam Averbach is a citizen of the United States and a resident of the State

 of Israel. He is a son of Steven Averbach and Julie Averbach.

        271.    As a result of the brutal attack on his father he has been emotionally traumatized

 and does not remember a time when his father was capable of using his arms and legs. Due to the

 severity of his father’s injuries, ordinary companionship and simple pleasures of walking together,

 playing sports together, or driving in a car with his father were denied to him.

        272.    As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Adam Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        273.    David Averbach was a United States citizen and resident of the State of New Jersey

 when he died in 2013. He was the father of Steven Averbach.

        274.    Plaintiff Maida Averbach is a citizen of the United States and a resident of the State

 of New Jersey. She is the mother of Steven Averbach.

        275.    Plaintiff Maida Averbach brings this action both individually and as the legal

 representative of the Estate of David Averbach.

        276.    Maida Averbach and David Averbach had returned home late on May 17, 2003,




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 from a dinner honoring David. Soon thereafter, Maida switched on Fox News and learned that a

 bus had been bombed in Jerusalem on Sunday morning in Israel. Maida recognized her son’s body

 leaning out of a stretcher on the news footage but decided not to inform her husband until the next

 morning.

        277.    After a sleepless night, Maida received a telephone call on Sunday morning at 5:50

 a.m. from her daughter-in-law and a social worker from Hadassah Hospital. They explained that

 Steven had been grievously wounded by the explosion and a ball bearing had lodged between his

 C3 and C4 vertebrae.

        278.    As a respected surgeon with many years of experience, David immediately

 understood the severity of his son’s injuries.

        279.    At the time of the attack, David Averbach and Maida Averbach had partially retired

 from their jobs so that they could spend more time with Steven and his children.

        280.    Following the attack, Steven’s constant inability to use his hands and legs, his

 inevitable battle with depression and the emotional effect it has had on Steven’s four children were

 a constant source of anguish to both of his parents.

        281.    As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, (before he died) David Averbach

 experienced emotional pain and suffering, loss of his son’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        282.    Plaintiff Maida Averbach experienced severe mental anguish and extreme

 emotional distress as a result of the terrorist attack from the moment she saw her son’s body on

 television in the early morning hours of May 18, 2003.

        283.    As a result of the suffering that Steven experienced following the attack and his




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 death that resulted from the injuries sustained in the attack, plaintiff Maida Averbach has

 experienced emotional pain and suffering, loss of her son’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

         284.    Plaintiff Michael Averbach is a citizen of the United States and a resident of the

 State of New Jersey. He is the brother of Steven Averbach.

         285.    Michael Averbach has always looked up to his brother and admired him. The

 injuries that his brother sustained, as well as his subsequent death, have been a severe emotional

 blow to Michael.

         286.    Since the date of the attack, Michael flew to Israel repeatedly, often at his brother’s

 request, simply to sit by Steven’s bedside and talk.

         287.    As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Michael Averbach has

 experienced emotional pain and suffering, loss of his brother’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

         288.    Plaintiff Eileen Sapadin is a citizen of the United States and a resident of the State

 of New Jersey. She is the sister of Steven Averbach.

         289.    Eileen was staying at her parents’ home with her husband and three of her four

 children on the morning her mother received notification of the attack.

         290.    Eileen has experienced tremendous emotional pain and sadness as a result of the

 severity of the injuries that Steve sustained as a result of the attack, as well as his subsequent death.

         291.    After the attack, she suffered from anxiety and depression, had trouble sleeping,

 and cried every day.

         292.    Since the attack, she lost more than thirty pounds and has suffered physical




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 exacerbations of a colitis condition that was in remission prior to the attack that severely injured

 her brother, and subsequently resulted in his death.

         293.     As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Eileen Sapadin has

 experienced emotional pain and suffering, loss of her brother’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

                THE MIKE’S PLACE BOMBING IN TEL AVIV – APRIL 30, 2003

         294.     On April 30, 2003, Asif Muhammad Hanif, a HAMAS suicide bomber, entered

 Mike’s Place, a popular bar situated on the seashore a few hundred meters from the American

 Embassy in Tel Aviv, and detonated his explosives,1 killing three people and injuring more than

 50 others.

         295.     Hanif, 22, was a British citizen who entered Israel through Jordan.

 The Rozenstein Family

         296.     Plaintiff Daniel Rozenstein is a citizen of the United States and a resident of the

 State of Florida.

         297.     Daniel was seated inside the bar and decided to step outside when he crossed paths

 with Hanif in the entryway just as he detonated his explosives.

         298.     As a result of the attack, Daniel suffered second degree burns over his entire body.

         299.     After three days in the hospital, Daniel slipped into a coma that lasted eight days.

 He was placed on a respirator and other life supports for two weeks. He remained in the hospital

 for one and a half months, followed by eight months of treatment as an outpatient.

         300.     As a result of the bombing, he sustained severe hearing loss. He has also suffered a


 1
           There were actually two bombers, both British nationals sent by HAMAS, but the explosive belt on one of
 the terrorists failed to detonate.


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 permanent loss of balance, is often dizzy, and frequently experiences black outs.

        301.    Daniel’s right hand no longer functions properly as it is covered in scar tissue. Much

 of the rest of his body is also covered by scar tissue, including his back.

        302.    He also suffers from memory loss, nightmares and post-traumatic stress disorder

 (“PTSD”). He has also sustained a traumatic brain injury (“TBI”) and undergone psychological

 counseling.

        303.    As a result of the attack, plaintiff Daniel Rozenstein has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

        304.    Plaintiff Julia Rozenstein Schon is a citizen of the United States and a resident of

 the State of Florida. She is the sister of plaintiff Daniel Rozenstein.

        305.    On the night of the bombing, Julia received a telephone call from the father of

 Daniel’s girlfriend. She was told there had been an attack and that no one was certain of Daniel’s

 condition.

        306.    When Julia first saw Daniel, she did not recognize him because his body was

 horribly burned, and his face and ears were swollen beyond recognition. She spent many days in

 the hospital and was there when her brother slipped into a coma.

        307.    Julia still suffers nightmares and is traumatized by the attack. Even now, she calls

 her brother compulsively to be certain that he is not in danger.

        308.    As a result of the attack, plaintiff Julia Rozenstein Schon has experienced severe

 mental anguish and extreme emotional distress.

        309.    Plaintiff Alexander Rozenstein is a citizen of the United States and a resident of the

 State of Israel. He is the father of plaintiff Daniel Rozenstein.

        310.    As a result of the attack, plaintiff Alexander Rozenstein has experienced severe




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 mental anguish and extreme emotional distress.

         311.     Plaintiff Esther Rozenstein is a citizen of the United States and a resident of the

 State of Florida. She is the mother of plaintiff Daniel Rozenstein.

         312.     As a result of the attack, plaintiff Esther Rozenstein has experienced severe mental

 anguish and extreme emotional distress.

                   THE SHOOTING ATTACK ON ROUTE #60 – JANUARY 29, 2003

         313.     On January 29, 2003, Farah Hamad and Yasser Hamad, two HAMAS terrorists,

 perpetrated a shooting attack on Route #60, seriously injuring one person.

 The Steinmetz Family

         314.     Plaintiff Jacob Steinmetz is a citizen of the United States and a resident of the State

 of Israel.

         315.     Plaintiff Deborah Steinmetz is a citizen of the United States and a resident of the

 State of Israel. She is the wife of Jacob Steinmetz.

         316.     On January 29, 2003, Jacob was driving their car on Route #60. Deborah sat in the

 front passenger seat of the car. As their car made a turn, two masked men began shooting at the

 car. The entire driver’s side of the car was riddled with bullets.

         317.     Two bullets hit Jacob. One shot passed through the car seat and lodged in his leg.

 The other shot entered his arm and passed through his elbow.

         318.     After arriving at the hospital and over the next few days, Jacob underwent a number

 of operations.

         319.     Four metal spikes were surgically inserted into his bone in order to restrain his arm.

 The spikes remained there for three months and severely restricted his arm’s mobility. Additional

 plastic surgeries were performed. Jacob received a skin graft from his leg to cover the opening in




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 his elbow.

           320.   In 2003, Jacob underwent a complete elbow replacement that included the

 placement of a large metal hinge.

           321.   Presently, the use of Jacob’s arm is greatly limited.

           322.   As a result of the attack, plaintiff Jacob Steinmetz has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

           323.   As a result of being in the car that terrorists targeted, plaintiff Deborah Steinmetz

 has experienced great anxiety and severe mental anguish and extreme emotional distress.

           324.   Amichai Steinmetz was a citizen of the United States when he died. He is the son

 of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

           325.   In 2009, Amichai Steinmetz went missing while on a trip to India. In December

 2015, an Israeli court declared Amichai Steinmetz dead.

           326.   Following the attack and prior to his declaration of death in 2015, Amichai

 Steinmetz experienced severe mental anguish and extreme emotional distress as a result of the

 attack.

           327.   Plaintiffs Jacob Steinmetz and Deborah Steinmetz bring this action both

 individually and on behalf of the Estate of Amichai Steinmetz.

           328.   Plaintiff Nava Steinmetz is a citizen of the United States and a resident of the State

 of Israel. She is a daughter of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

           329.   Plaintiff Orit Mayerson is a citizen of the United States and a resident of the State

 of Israel. She is a daughter of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

           330.   Plaintiff Netanel Steinmetz is a citizen of the United States and a resident of the

 State of Israel. He is the son of plaintiffs Jacob Steinmetz and Deborah Steinmetz.




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        331.    As a result of the attack, plaintiffs Nava Steinmetz, Orit Mayerson and Netanel

 Steinmetz have experienced severe mental anguish and extreme emotional distress.

          THE HEBREW UNIVERSITY CAFETERIA BOMBING – JULY 31, 2002

        332.    On the afternoon of July 31, 2002, approximately 100 people were eating lunch in

 the Frank Sinatra cafeteria on the Hebrew University Mount Scopus campus in Jerusalem. A bomb

 planted inside the cafeteria exploded, killing nine people, five of them Americans, and injuring as

 many as 70 others.

        333.    HAMAS planned and perpetrated the attack.

        334.    Mohammad Odeh, a HAMAS operative, who worked at Hebrew University as a

 painter for an Israeli contractor, set off the bomb.

 The Coulter Family

        335.    Janis Ruth Coulter was a citizen of the United States when she died.

        336.    Janis was in the cafeteria when the bomb exploded, killing her and injuring her

 friend who was eating lunch with her.

        337.    Janis was the assistant director of the Hebrew University’s Rothenberg

 International School’s Office of Academic Affairs in New York.

        338.    She had arrived in Israel just one day before the bombing to accompany a group of

 19 American students who were scheduled to attend classes at the university.

        339.    Robert L. Coulter, Sr. was a citizen of the United States and a resident of the State

 of Massachusetts when he died in 2018. He was the father of Janis Ruth Coulter.

        340.    Robert L. Coulter, Sr.’s widow, Ann Coulter, brings this action on behalf of the

 Estate of Robert Coulter, Sr.

        341.    Robert L. Coulter, Sr. was watching television news that morning in the United




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 States when he saw a “news flash” about a bombing at Hebrew University. Thinking he saw Janis’s

 head lying in an unsealed body bag, he called his other daughter, plaintiff Dianne Coulter Miller.

 Dianne called Janis’s boss in New York and both Robert L. Coulter, Sr. and his daughter

 desperately tried to reach Janis on her cell phone without success.

         342.   Plaintiff Dianne Coulter Miller is a citizen of the United States and a resident of the

 State of Massachusetts. She is the sister of Janis Ruth Coulter.

         343.   Plaintiff Robert L. Coulter, Jr. is a citizen of the United States and a resident of the

 State of Massachusetts. He is the brother of Janis Ruth Coulter.

         344.   Plaintiffs Dianne Coulter Miller and Robert L. Coulter, Jr. bring actions

 individually and as the legal representatives of the Estate of Janis Ruth Coulter.

         345.   Robert L. Coulter, Jr. had heard about the bombing on the radio on the way to work,

 but did not make the connection with Janis’s visit to Israel. His father called him at work about the

 possibility that Janis was at the cafeteria, whereupon he drove immediately to his father’s house.

         346.   Initially, Janis was identified only through the numbers on her medical alert

 bracelet. Eventually, the family retrieved Janis’s dental records and faxed them to Israel where,

 later that evening, her death was confirmed.

         347.   As a result of Janis’s death, (before his own death in 2018) plaintiff Robert L.

 Coulter, Sr. experienced emotional pain and suffering, loss of his daughter’s society,

 companionship, comfort, advice and counsel, and severe mental anguish and extreme emotional

 distress.

         348.   As a result of Janis’s death, plaintiff Dianne Coulter Miller has experienced

 emotional pain and suffering, loss of her sister’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.




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          349.   As a result of Janis’s death, plaintiff Robert L. Coulter, Jr. has experienced

 emotional pain and suffering, loss of his sister’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

 The Carter Family

          350.   Diane Leslie Carter was a citizen of the United States when she died.

          351.   She was eating lunch in the cafeteria when the bomb exploded.

          352.   Diane was killed by the bomb blast.

          353.   In 1990, Diane had moved to Israel, where she worked as a librarian and archivist

 in the National Library on the Givat Ram campus of Hebrew University in Jerusalem.

          354.   Plaintiff Larry Carter is a citizen of the United States and a resident of the State of

 North Carolina. He is the father of Diane Leslie Carter.

          355.   Plaintiff Larry Carter brings this action both individually and as the Administrator

 of the Estate of Diane Leslie Carter.

          356.   Larry learned of his daughter’s death from a journalist who called his home. After

 conferring with his ex-wife, Diane’s mother, Larry was able to confirm that his daughter was, in

 fact, killed in the bombing.

          357.   Plaintiff Shaun Choffel is a citizen of the United States and a resident of the State

 of Virginia. She is the sister of Diane Leslie Carter.

          358.   Both Larry and Shaun learned that Diane had been buried in Israel only moments

 before the funeral was scheduled to begin. Neither of them had the opportunity to say goodbye to

 Diane.

          359.   As a result of Diane’s death, plaintiff Larry Carter has experienced emotional pain

 and suffering, loss of his daughter’s society, companionship, comfort, advice and counsel, and




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 severe mental anguish and extreme emotional distress.

        360.    As a result of Diane’s death, plaintiff Shaun Choffel has experienced emotional

 pain and suffering, loss of her sister’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

 The Blutstein Family

        361.    Benjamin Blutstein was a citizen of the United States when he died.

        362.    He was killed by the bomb blast.

        363.    Benjamin had come to Israel for a two-year study program at the Pardes Institute

 in Jerusalem to become a teacher.

        364.    Benjamin was scheduled to fly home to visit his family in Pennsylvania the day

 after he was murdered by HAMAS terrorists. Instead, two days after the attack, Benjamin’s body

 was flown home and buried in his parents’ hometown of Harrisburg, Pennsylvania.

        365.    Plaintiff Richard Blutstein is a citizen of the United States and a resident of the

 State of Pennsylvania. He is the father of Benjamin Blutstein.

        366.    Plaintiff Katherine Baker is a citizen of the United States and a resident of the State

 of Pennsylvania. She is the mother of Benjamin Blutstein.

        367.    Plaintiffs Richard Blutstein and Katherine Baker bring this action both individually

 and on behalf of the Estate of Benjamin Blutstein.

        368.    Plaintiff Rebekah Blutstein is a citizen of the United States and a resident of the

 State of Pennsylvania. She is the sister of Benjamin Blutstein.

        369.    Richard first heard about the attack while watching Fox News early in the morning.

 He then called Benjamin’s cell phone and heard a recording. Shortly thereafter he contacted friends

 in Israel to ascertain if Benjamin had been injured in the attack. After a friend made a positive




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 identification, Richard received a call confirming Benjamin’s death.

        370.   Katherine learned that her son had been killed in the attack when she received a call

 from a representative of the American Embassy. She was too overwhelmed with emotion to call

 her husband. Richard received the call from a neighbor, who was with Katherine. Katherine then

 composed herself enough to inform her daughter, Rebekah.

        371.   As a result of Benjamin’s death, plaintiff Richard Blutstein has experienced

 emotional pain and suffering, loss of his son’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        372.   As a result of Benjamin’s death, plaintiff Katherine Baker has experienced

 emotional pain and suffering, loss of her son’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        373.   Although Rebekah’s father had informed her about the attack, Rebekah learned that

 her brother had died when her mother telephoned her.

        374.   As a result of Benjamin’s death, plaintiff Rebekah Blutstein has experienced

 emotional pain and suffering, loss of her brother’s society, companionship, comfort, protection,

 advice and counsel, and severe mental anguish and extreme emotional distress.

 The Gritz Family

        375.   David Gritz was a citizen of the United States when he died.

        376.   He was killed by the bomb blast.

        377.   He had come to Israel for the first time with the help of a scholarship from the

 Hartman Institute to study philosophy and write his doctorate.

        378.   He died after being in Israel for only two weeks.

        379.   Norman Gritz was a citizen of the United States and a resident of France when he




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 died in 2005. He was the father of David Gritz.

        380.    Plaintiff Nevenka Gritz is a citizen and resident of France. She is the mother of

 David Gritz, who was an only child.

        381.    Plaintiff Nevenka Gritz brings this action individually and on behalf of the Estate

 of David Gritz and the Estate of Norman Gritz.

        382.    Nevenka and Norman were in New York on the day their son was murdered.

 Friends informed them that television reports had indicated that a bombing had taken place at

 Hebrew University. Nevenka and her husband attempted to reach their son by phone, and then

 called the Israeli consulate in the hopes of getting more information. Eventually, confirmation

 came from the Israeli consulate that David’s body had been identified.

        383.    As a result of David’s death, (prior to his death) Norman Gritz experienced

 emotional pain and suffering, loss of his only child’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        384.    As a result of David’s death, plaintiff Nevenka Gritz has experienced emotional

 pain and suffering, loss of her only child’s society, companionship, comfort, advice and counsel,

 and severe mental anguish and extreme emotional distress.

                     THE SHEFFIELD CLUB BOMBING – MAY 7, 2002

        385.    On the night of May 7, 2002, Muhammad Muammar, a HAMAS suicide bomber,

 entered the third floor of a building in Rishon Letzion’s new industrial area that housed the

 Sheffield Club (social club) and detonated a bomb.

        386.    Fifteen people were killed in the attack, and more than 50 others were injured.

 The Bablar Family

        387.    Esther Bablar was a citizen of the United States when she died.




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         388.   Although Esther initially survived the attack, she died of her injuries the following

 morning.

         389.   Plaintiff Jacqueline Chambers is a citizen of the United States and a resident of the

 State of Florida. She is a daughter of Esther Bablar.

         390.   Plaintiff Levana Cohen is a citizen of the United States and a resident of the State

 of Florida. She is a daughter of Esther Bablar.

         391.   Plaintiffs Jacqueline Chambers and Levana Cohen bring actions both individually

 and on behalf of the Estate of Esther Bablar.

         392.   Esther had spent the month before the bombing in Florida with her youngest

 daughter, Levana, who had just given birth to Esther’s grandchild. The day before the attack she

 had been in New York visiting her other daughter, Jacqueline.

         393.   On the day of the attack, a member of the Bablar family in Israel contacted Esther’s

 sister, Sarah Elyakim, in New York and told her the tragic news. Eventually Esther’s daughters

 were notified and they quickly made arrangements to fly to Israel with their aunt and uncle.

         394.   As a result of Esther’s death, plaintiff Jacqueline Chambers has experienced

 emotional pain and suffering, and the loss of her mother’s society, companionship, comfort,

 protection, attention, advice and counsel, and severe mental anguish and extreme emotional

 distress.

         395.   As a result of Esther’s death, plaintiff Levana Cohen has experienced emotional

 pain and suffering, and the loss of her mother’s society, companionship, comfort, protection,

 attention, advice and counsel, and severe mental anguish and extreme emotional distress.

         396.   Plaintiff Eli Cohen is a citizen of the United States and a resident of the State of

 New York. He is the son of Esther Bablar. He is being represented by his legal guardian, plaintiff




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 Jacqueline Chambers.

        397.    As a result of Esther’s death, plaintiff Eli Cohen has experienced emotional pain

 and suffering, and the loss of his mother’s society, companionship, comfort, protection, attention,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        398.    Plaintiff Sarah Elyakim is a citizen of the United States and a resident of the State

 of New York. She is the sister of Esther Bablar.

        399.    As a result of Esther’s death, plaintiff Sarah Elyakim has experienced emotional

 pain and suffering and the loss of her sister’s companionship, advice and counsel, and severe

 mental anguish and extreme emotional distress.

        400.    Plaintiff Joseph Cohen is a citizen of the United States and a resident of the State

 of New York. He is the brother of Esther Bablar.

        401.    As a result of Esther’s death, plaintiff Joseph Cohen has experienced emotional

 pain and suffering and the loss of his sister’s companionship, advice and counsel, and severe

 mental anguish and extreme emotional distress.

         THE PASSOVER MASSACRE AT THE PARK HOTEL IN NETENAYA –
                            MARCH 27, 2002

        402.    On March 27, 2002, Abd al-Baset Odeh, a HAMAS suicide bomber, blew himself

 up near the dining area within the Park Hotel in Netanya. It was the night of the Jewish holiday of

 Passover, and the hotel dining room was filled with hundreds of people celebrating the Passover

 Seder with their families and friends.

        403.    Thirty people were killed and 140 others were injured.

 The Rogen Family

        404.    Hannah Rogen was a citizen of the United States when she died.

        405.    Hannah was severely wounded in the attack and died of her wounds six days later,



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 on April 2, 2002.

         406.    Hannah was a Holocaust survivor who immigrated to the United States after World

 War II. She was attending the Passover Seder at the invitation of a childhood friend, Yulia Talmi,

 who was also killed in the attack.

         407.    Greta Geller is the great niece of Hannah Rogen. She, along with Ilana Dorfman,

 Rephael Kitsis, and Tova Guttman, bring this action as the court-appointed administrators of the

 Estate of Hannah Rogen.

                THE BEN YEHUDA STREET BOMBINGS – DECEMBER 1, 2001

         408.    In the late evening of December 1, 2001, Nabil Halabiya and Osama Bahar, two

 HAMAS suicide bombers, blew themselves up in a pedestrian mall in Jerusalem as part of a

 coordinated double suicide bombing. A large quantity of nails was packed with each of the bombs.

 Eleven people were killed and 188 others were injured.

         409.    After the two suicide bombings, HAMAS terrorists detonated a car bomb near the

 site of the first two attacks.

 The Spetner Family

         410.    Plaintiff Temima Spetner is a citizen of the United States and a resident of the State

 of Missouri.

         411.    On December 1, 2001, Temima was walking down the pedestrian mall in Jerusalem

 when one of the suicide bombers detonated his explosives approximately 10 yards from where she

 was standing. Temima was hit by shrapnel on her arms and fingers. While bleeding heavily, and

 with clothing soaked in blood, Temima began running up the walkway and fell. Someone came to

 her aid and attempted to stop the bleeding until ambulances arrived at the scene.

         412.    As a result of the attack, the femoral artery of Temima’s right leg was severed. She




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 was transported to the hospital where doctors operated on her to stop the bleeding. The following

 day it was determined that Temima’s intestines had been punctured by shrapnel, and she underwent

 another operation to repair her intestines and remove most of the shrapnel. Temima remained in

 the hospital for ten days.

        413.    There is significant scarring on Temima’s thigh and the lower part of her abdomen.

 She continues to experience numbness in her right leg and is highly sensitive to pain in that leg.

        414.    Temima has also experienced psychological trauma as a result of the attack.

        415.    As a result of the attack, plaintiff Temima Spetner has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

 The Kirschenbaum Family

        416.    Plaintiff Jason Kirschenbaum is a citizen of the United States and a resident of the

 State of New York.

        417.    Jason Kirschenbaum was on Ben Yehuda Street in Jerusalem on December 1, 2001

 when the double suicide bombing took place.

        418.    As a result of the first explosion, Jason was thrown to the ground. As he stood up,

 the second suicide bomber detonated his explosives and Jason was thrown in another direction.

        419.    When he got up the second time he felt numb. Jason saw his left arm dangling back

 and forth and held it because he thought it might fall off. When he began running up the street for

 help, he felt a sharp pain in his leg and back.

        420.    Jason was taken to Shaare Zedek Hospital in Jerusalem where he underwent two

 operations. Surgeons removed 8 metal bolts from his arm, leg and back.

        421.    Jason had to undergo several months of physical therapy for the injuries to his arm,

 leg and back. He still has scarring where he was branded by the bolts that penetrated his skin.




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        422.    As a result of the attack, plaintiff Jason Kirschenbaum has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

        423.    Plaintiff Isabelle Kirschenbaum is a citizen of the United States and a resident of

 the State of New York. She is the mother of plaintiff Jason Kirschenbaum.

        424.    Martin Kirschenbaum was a citizen of the United States and a resident of the State

 of New York when he died in 2008. He was the father of plaintiff Jason Kirschenbaum.

        425.    Plaintiff Isabelle Kirschenbaum brings this action both individually and as the

 representative of the Estate of Martin Kirschenbaum.

        426.    Isabelle first learned of the double suicide bombing while watching CNN. After

 numerous telephone conversations, she ultimately received a telephone call confirming that Jason

 had been injured in the attack.

        427.    As a result of the attack, plaintiff Isabelle Kirschenbaum has experienced severe

 mental anguish and extreme emotional distress.

        428.    Martin Kirschenbaum learned of the attack when he and Isabelle Kirschenbaum

 received the telephone call confirming that Jason had been injured in the attack.

        429.    As a result of the attack, (before his death) Martin Kirschenbaum experienced

 severe mental anguish and extreme emotional distress.

        430.    Plaintiff Joshua Kirschenbaum is a citizen of the United States and a resident of the

 State of New York. He is a brother of plaintiff Jason Kirschenbaum.

        431.    Joshua Kirschenbaum was in Tel Aviv at the time of the attack. Martin and Isabelle

 telephoned Joshua to advise him that his brother Jason had been injured in the attack in Jerusalem.

 Hours later, he finally located his brother in the emergency room at Shaare Zedek Hospital in

 Jerusalem.




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         432.   As a result of the attack, plaintiff Joshua Kirschenbaum has experienced severe

 mental anguish and extreme emotional distress.

         433.   Plaintiff Shoshana Burgett is a citizen of the United States and a resident of the

 State of New York. She is a sister of plaintiff Jason Kirschenbaum.

         434.   As a result of the attack, plaintiff Shoshana Burgett has experienced severe mental

 anguish and extreme emotional distress.

         435.   Plaintiff David Kirschenbaum is a citizen of the United States and a resident of the

 State of New York. He is a brother of plaintiff Jason Kirschenbaum.

         436.   As a result of the attack, plaintiff David Kirschenbaum has experienced severe

 mental anguish and extreme emotional distress.

         437.   Plaintiff Danielle Teitelbaum is a citizen of the United States and a resident of the

 State of New Jersey. She is a sister of plaintiff Jason Kirschenbaum.

         438.   As a result of the attack, plaintiff Danielle Teitelbaum has experienced severe

 mental anguish and extreme emotional distress.

 The Miller Family

         439.   Plaintiff Netanel Miller is a citizen of the United States and a resident of the State

 of Israel.

         440.   On the evening of December 1, 2001, Netanel was with friends enjoying ice cream

 at the pedestrian mall in Jerusalem when one of the HAMAS suicide bombers detonated his

 explosives a few feet away from him. Netanel had his back to the bomber, and he was thrown to

 the ground as a result of the explosion.

         441.   A nut from the bomb lodged in the upper part of Netanel’s leg. Other nuts hit him

 in the back, resulting in burns. His hand and knee were also injured.




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        442.    Netanel, in shock and unaware of the severity of his injuries, attempted to walk

 home, limping on his injured leg. After walking approximately 30 feet, Netanel collapsed on the

 sidewalk. Only then did Netanel become aware of how much he was bleeding from the wounds he

 had sustained in his leg. His attempts to use pressure to stop the bleeding were unsuccessful.

        443.    Some people stopped to help him, and Netanel handed them his cellular phone,

 asking them to call his parents, Arie and Chaya Miller. Netanel spoke to his father, who had been

 an Army medic. Arie asked Netanel specific questions about his condition and insisted Netanel

 seek medical help.

        444.    Ultimately, Netanel was taken to Shaare Zedek Hospital by ambulance. Since

 Netanel had lost a great deal of blood, he was given a blood transfusion.

        445.    Arie came to the hospital. Chaya arrived an hour or so later after she found someone

 to stay with her other children at her home.

        446.    Netanel was admitted to the hospital and remained there for two days.

        447.    Netanel endured the pain in his leg for nearly two years.

        448.    The pain in Netanel’s leg became so severe that he had to undergo surgery, and the

 nut that was still lodged in his leg was finally removed.

        449.    It is still painful for Netanel to hike, an activity that he has always enjoyed.

        450.    Netanel had flashbacks as a result of the attack and underwent psychological

 counseling.

        451.    As a result of the attack, plaintiff Netanel Miller has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

        452.    Plaintiff Chaya Miller is a citizen of the United States and a resident of the State of

 Israel. She is the mother of plaintiff Netanel Miller.




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         453.    Plaintiff Arie Miller is a citizen and resident of the State of Israel. He is the father

 of plaintiff Netanel Miller.

         454.    Upon learning that their son Netanel had been injured in the bombing, and knowing

 he has suffered greatly as a result of those injuries, plaintiffs Chaya Miller and Arie Miller

 experienced great concern and anxiety.

         455.    As a result of the attack, plaintiffs Chaya Miller and Arie Miller have experienced

 severe mental anguish and extreme emotional distress.

         456.    Plaintiff Aharon Miller is a citizen of the United States and a resident of the State

 of Israel. He is the brother of plaintiff Netanel Miller.

         457.    Plaintiff Shani Miller is a citizen of the United States and a resident of the State of

 Israel. She is a sister of plaintiff Netanel Miller.

         458.    Plaintiff Adiya Miller is a citizen of the United States and a resident of the State of

 Israel. She is a sister of plaintiff Netanel Miller.

         459.    As a result of the attack, plaintiffs Aharon Miller, Shani Miller, and Adiya Miller

 have experienced severe mental anguish and extreme emotional distress.

 The Steinherz Family

         460.    Plaintiff Altea Steinherz is a citizen of the United States and a resident of the State

 of Israel.

         461.    Plaintiff Jonathan Steinherz is a citizen of the United States and a resident of the

 State of Israel. He was the husband of plaintiff Altea Steinherz at the time of the attack.

         462.    On December 1, 2001, Altea Steinherz was nine months pregnant. Altea and

 Jonathan were at a restaurant in Jerusalem when they heard a bomb explode nearby.

         463.    Altea wanted to get home to her daughter who was with a babysitter at the time, but




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 she knew that bombings in Israel were frequently followed by a second bomb intended to kill or

 injure people fleeing from the first bomb.

         464.    A short time later Altea and Jonathan heard another bomb explode. Believing the

 bombing was now over, they began to walk home.

         465.    While walking in the street, they saw a crazed-looking man run past them. Altea

 thought that he might have been the bomber and insisted that the couple turn around, away from

 the direction from which the man had come.

         466.    As they began to run, Altea fell twice, and she broke her left arm as a result of one

 of the falls.

         467.    She experienced severe pain in her arm after the attack and continued to experience

 pain for many years afterward.

         468.    Altea was afraid that, as a result of her falls, her pregnancy might have terminated.

         469.    Until her son, Yitzhak, was born 11 days later, Altea and Jonathan feared for the

 condition of their unborn child.

         470.    Altea became less self-confident and more fearful generally. She had sleeping

 difficulties and underwent psychological counseling.

         471.    Jonathan felt tremendous anxiety and stress, had significant difficulty sleeping, and

 underwent psychological counseling.

         472.    As a result of the attack, plaintiff Altea Steinherz sustained physical injuries and

 experienced severe mental anguish and extreme emotional distress.

         473.    As a result of the attack, plaintiff Jonathan Steinherz experienced severe mental

 anguish and extreme emotional distress.

         474.    Plaintiff Temima Steinherz is a citizen of the United States and a resident of the




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 State of Israel. She is the daughter of plaintiffs Altea Steinherz and Jonathan Steinherz.

        475.    As a result of the attack, plaintiff Temima Steinherz has experienced severe mental

 anguish and extreme emotional distress.

        476.    Plaintiff Joseph Ginzberg is a citizen of the United States and a resident of the State

 of New York. He is the father of plaintiff Altea Steinherz.

        477.    As a result of the attack, plaintiff Joseph Ginzberg has experienced severe mental

 anguish and extreme emotional distress.

        478.    Plaintiff Peter Steinherz is a citizen of the United States and a resident of the State

 of New York. He is the father of plaintiff Jonathan Steinherz.

        479.    Plaintiff Laurel Steinherz is a citizen of the United States and a resident of the State

 of New York. She is the mother of plaintiff Jonathan Steinherz.

        480.    As a result of the attack, plaintiffs Peter Steinherz and Laurel Steinherz have

 experienced severe mental anguish and extreme emotional distress.

                  PATT JUNCTION BUS # 32A BOMBING – JUNE 18, 2002

        481.    At approximately 7:50 a.m. on June 18, 2002, Muhamad al-Ghoul, a HAMAS

 terrorist, boarded Bus #32A in the Gilo neighborhood of Jerusalem. Almost immediately, he

 detonated the large bomb which he carried in a bag stuffed with ball bearings. The blast destroyed

 the front half of the bus, packed with people on their way to work and a group of schoolchildren.

 Nineteen people were killed and 74 others were injured.

 The Aluf Family

        482.    Boaz Aluf was a citizen of the State of Israel when he died.

        483.    Plaintiff Gila Aluf is a citizen of the United States and a resident of the State of

 Israel. She is the widow of Boaz Aluf.




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         484.   On the morning of June 18, 2002, Boaz was going to work in the computer

 department of Jerusalem’s Bank Tefahot and was on Bus #32A when al-Ghoul detonated the

 bomb.

         485.   As a result of Boaz’s death, plaintiff Gila Aluf has experienced emotional pain and

 suffering, and the loss of her husband’s society, companionship, comfort, protection, attention,

 advice and counsel, and severe mental anguish and extreme emotional distress.

                         THE ARIEL BOMBING – OCTOBER 27, 2002

         486.   On October 27, 2002, Muhammad Kazid Faysal al-Bustami, a HAMAS suicide

 bomber, detonated his explosives at a gas station outside of the West Bank town of Ariel, killing

 three Israeli soldiers and injuring 15 other people.

 The Zahavy Family

         487.   Plaintiff Yitzhak Zahavy is a citizen of the United States and a resident of the State

 of Israel.

         488.   On October 27, 2002, Yitzhak was waiting with his platoon for a transport pickup

 at a gas station at the entrance to the town of Ariel.

         489.   Al-Bustami emerged and stood approximately 50 meters from Yitzhak.

         490.   Three of Yitzhak’s fellow soldiers were killed as they (and Yitzhak) unsuccessfully

 attempted to stop al-Bustami before he detonated his explosives.

         491.   Yitzhak suffered shrapnel injuries to his leg and was taken to Meir Hospital.

         492.   The emotional effects of the attack continue to affect Yitzhak to the present day.

         493.   As a result of the attack, plaintiff Yitzhak Zahavy has sustained physical injuries

 and experienced severe mental anguish and extreme emotional distress.

         494.   Plaintiff Julie Zahavy is a citizen of the United States and a resident of the State of




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 Israel. She is the wife of plaintiff Yitzhak Zahavy.

        495.    As a result of the attack, plaintiff Julie Zahavy has experienced severe mental

 anguish and extreme emotional distress.

        496.    Plaintiff Tzvee Zahavy is a citizen of the United States and a resident of the State

 of New Jersey. He is the father of plaintiff Yitzhak Zahavy.

        497.    Plaintiff Bernice Zahavy is a citizen of the United States and a resident of the State

 of New Jersey. She is the mother of plaintiff Yitzhak Zahavy.

        498.    As a result of the attack, plaintiffs Tzvee Zahavy and Bernice Zahavy have

 experienced severe mental anguish and extreme emotional distress.

        B.      The Defendant

        499.    BANK OF PALESTINE is a banking corporation licensed to do business by the

 Palestinian Monetary Authority and headquartered in Ain Misbah, Ramallah. It provides banking

 and financial services to retail, corporate, micro and SME, and individual banking customers in

 and outside of the Palestinian Territories.

        500.    BANK OF PALESTINE was established in the Gaza Strip in 1960 by Haj Hashem

 Atta Shawa. Between 2002-2007, his son, Dr. Hani Shawa, served as BANK OF PALESTINE’s

 Chairman and General Manager. Its current Chairman is Dr. Hashim Shawa, the grandson of Haj

 Hashem Atta Shawa.

        501.    Mr. Tayseer Skaik served during the relevant period as the Bank’s assistant General

 Manager.

        502.    BANK OF PALESTINE was the first bank in the Palestinian Authority and is

 currently the largest. It has 71 branches, including 15 in Gaza, over 1,700 employees serving

 almost 1 million customers, and assets of over $4.88 billion.




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        503.    BANK OF PALESTINE has been licensed by the Palestine Monetary Authority

 since 1995.

        504.    BANK OF PALESTINE has an approximately 30% market share of deposits and

 loans in the Palestinian Territories, and the largest card processing operations. It is the sole agent

 for issuing and acquiring Visa and MasterCard in the region. Because the online payment company

 PayPal® does not transfer money to recipients in the Palestinian Territories, BANK OF

 PALESTINE inaugurated “PalPay”® in 2011 to facilitate electronic payments.

        505.    BANK OF PALESTINE has been listed on the Palestine Exchange (“PEX”) since

 2005. It represents more than 13.62% of total PEX market capitalization. Before becoming listed

 on the PEX, BANK OF PALESTINE was majority-owned by the Shawa family.

        506.    During the relevant period, BANK OF PALESTINE effectuated its U.S. dollar-

 denominated funds transfers through correspondent bank accounts at three banks located in New

 York: Citibank, N.A. (111 Wall Street, 19th Floor, New York, NY 10043) JP Morgan Chase Bank

 (4 Chase Metrotech, Brooklyn, NY 11245) and Union Bank of California N.A.

                                   FACTUAL ALLEGATIONS

 I.     THE ISLAMIC RESISTANCE MOVEMENT (HAMAS)

        A.      HAMAS’s Founding

        507.    Several prominent terrorist organizations operate in Palestinian-controlled territory,

 most notably the Islamic Resistance Movement (“HAMAS”), a radical Islamist terrorist

 organization committed to the globalization of Islam through violent “jihad” (holy war).




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          508.     HAMAS2 was established in the Gaza Strip on December 10, 1987, shortly

 following the outbreak of the First Intifada.3 The founding of the organization was announced in

 an “official” communique on December 14, 1987.

          509.     It represented the culmination of approximately 15 years of preparation and

 organization building, led by Ahmed Yassin (also known as “Sheikh Yassin”), the unrivaled leader

 of what had been the Muslim Brotherhood Movement in the Gaza Strip.4

          510.     Although Yassin had been confined to a wheelchair throughout his adult life, he

 worked unceasingly for the establishment of HAMAS in the Gaza Strip. When HAMAS was

 established in Yassin’s home in 1987, the Islamic Resistance Movement already had a defined

 ideology and a group of pre-existing institutions in Gaza, such as Al-Mujama Al-Islami (the Islamic

 Center) and Al-Jam’iya Al-Islamiya (the Islamic Society) and the Islamic University of Gaza that

 were the flagship institutions of the Brotherhood’s civilian social framework – the da’wa.5

          511.     On December 10, 1987, after violence broke out in the Jabalia Refugee Camp,

 Sheikh Yassin invited six of the leaders of the Muslim Brotherhood in Gaza to his home.

          512.     There the group decided on the establishment of HAMAS, an organization that

 would combine terror against Israel with its da’wa (social welfare) activities, through




 2
           Hamas is an acronym of the Arabic “Harakat al-Muqawama al-Islamiya” – Islamic Resistance Movement –
 but its name also means, in Arabic, enthusiasm, courage, zeal for battle.

 3
         The term “First Intifada,” as used herein, relates to the violent conflict that broke out in December 1987
 between the Palestinians and Israel.

 4
          The Muslim Brotherhood Movement was established in Egypt in 1928 by Hassan al-Banna, had was
 dedicated to the the goal of fighting Western influences on Muslim society; ensuring the adherence of Muslims to
 Islamic law (Shari’a); and following the rectification of Muslim society, to eventually establish an Islamic state that
 would expand its rule over the world by means of Jihad and a call to join Islam.
 5
           The word “da’wa,” whose basic meaning in Arabic is “the call to the believers to shelter beneath the faith –
 return to the faith,” is used herein to refer to “the civilian infrastructure of Hamas.”


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 organizations such as Al-Mujama Al-Islami (The Islamic Center of Gaza) and Al-Jam’iya Al-

 Islamiya (The Islamic Society of Gaza).

         513.     In 1973 Yassin established Al-Mujama Al-Islami, and in 1976 he set up Al-Jam’iya

 Al-Islamiya.

         514.     The two organizations, which were based in Gaza, quickly expanded and

 established branches throughout the Gaza Strip, but neither of them was, at the time of its

 establishment, openly militant.

         515.     Initially the two organizations placed emphasis primarily on mosques. The

 mosques were not meant solely for prayer. They also served as centers for religious, social,

 educational, cultural and political activity, while enjoying a measure of ex-territorial immunity

 that derived from their religious nature.6

         516.     The seven participants in the December 1987 meeting are considered by HAMAS

 to be its founding fathers. All of them were members of the Muslim Brotherhood, and six of them

 were members of Al-Mujama Al-Islami: Sheikh Yassin, Salah Shehada, Abd al-Aziz al-Rantisi,

 Muhammad Sham’a, Ibrahim al-Yazuri, Issa al-Nashar, and Abd al-Fatah Dukhan.

         517.     At the meeting, Sheikh Yassin was recognized as the supreme leader of HAMAS.

         518.     His six associates in founding the movement became HAMAS’s leadership council,

 and each of them was appointed to head a particular region: Salah Shehada was responsible for the

 northern Gaza Strip; Muhammad Sham’a was put in charge of Shati Refugee Camp; Ibrahim al-

 Yazuri was put in charge of Gaza City; Abd al-Fatah Dukhan was put in charge of the central



 6
          Yassin and the Muslim Brotherhood did not accept the secular Palestine Liberation Organization (PLO) as
 the sole official representative of the Palestinian people, and subsequently began challenging representatives of PLO
 organizations in the trade unions, charitable societies, and universities in Gaza and the West Bank. In Gaza, where
 Yassin’s leadership was more aggressive, the Muslim Brotherhood gradually seized control of the Islamic University
 of Gaza (founded in 1978) by removing the university’s PLO-affiliated administration and replacing them with
 members of Al-Mujama Al-Islami.


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 camps (four refugee camps); Issa al-Nashar was put in charge of the Rafah area, and Abd al-Aziz

 al-Rantisi was responsible for the Khan Yunis area.

        519.   All seven of HAMAS’s founders were members of the da’wa apparatus (the

 civilian infrastructure of the Muslim Brotherhood and later of HAMAS).

        520.   In a February 1, 1988 article titled “Islam’s Voice in Gaza,” Time Magazine wrote

 about Sheikh Yassin and his obvious connection to the Islamic Center in Gaza:

               Sheik Yasin, 51, is a spiritual leader of the Islamic fundamentalist
               movement in Gaza and thus a prime force behind the religious gale that has
               recently fanned the flames of unrest in the occupied territories. Born in the
               Arab village of Al-Joura, Sheik Yasin has been paralyzed below the neck
               since age 15 as the result of an athletic accident. He resides with his wife
               and eleven children in a one-story house in Gaza City. Family members
               assist him in dressing and eating. Despite his handicap, he runs al-Mujama
               al-Islami, a community organization that builds mosques and sponsors
               cultural activities.

        521.   In a January 1998 interview with a HAMAS publication, Dr. Ibrahim al-Yazuri,

 one of the aforementioned founders of HAMAS, offered a telling description of HAMAS’s

 philosophy regarding charitable giving:

               Everyone knows that the Islamic Resistance Movement, HAMAS, is a
               Palestinian Jihad movement that strives for the liberation of all Palestine,
               from the (Mediterranean) sea to the river (Jordan), from the north to the
               south, from the tyrannical Israeli occupation, and this is the main part of its
               concern. Social work is carried out in support of this aim, and it is
               considered to be part of the HAMAS movement’s strategy . . . The HAMAS
               movement is concerned about its individuals and its elements, especially
               those who engage in the blessed jihad against the hateful Israeli occupation,
               since they are subjected to detention or martyrdom. The movement takes
               care of their families and their children and provides them with as much
               material and moral support as it can. This is one of the fundamental truths
               of Islamic work and thus represents the duties of the Islamic state . . . The
               movement provides this aid through the support and assistance it gives to
               the zakat (Islamic alms-giving) committees and the Islamic associations and
               institutions in the Gaza Strip.

        522.   Years before the establishment of HAMAS, Sheikh Yassin and the Muslim

 Brotherhood in the Gaza Strip had developed the civilian infrastructure (such as Al-Mujama Al-


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 Islami, Al-Jam’iya Al-Islamiya and other organizations) which would soon form the backbone and

 recruiting grounds for the Movement’s terror apparatus, later named the Izz al-Din al-Qassam

 Brigades (herein, the “Qassam Brigades”).7

          523.     In January 1988, HAMAS also established a branch in the West Bank, through

 three of the leaders of the Muslim Brotherhood there: Jamil Hamami, Hamed Bitawi and Sa’id

 Bilal. As in the past, HAMAS relied on the infrastructure of the Muslim Brotherhood in the West

 Bank to build the backbone of command of HAMAS and its resources, while absorbing key Zakat

 committees and charitable societies8 in the West Bank, and where necessary, also setting up new

 institutions.

          B.       HAMAS in the 1990’s

          524.     In December 1992, as a result of increased terrorist activity by HAMAS, the

 Government of Israel decided to deport over 350 HAMAS operatives to Lebanon.

          525.     This step later became known as the Marj al-Zuhur Deportation because the

 deported Islamists were delivered to a check point by that name in southern Lebanon during their

 brief exile.

          526.     The Marj al-Zuhur Deportation was a formative moment in the history of HAMAS

 and the Movement’s mythology. It established its status as a leading Palestinian political

 organization and brought it to prominence in the Arab and international arenas.




 7
           In 1984, the Israel Defense Forces (“IDF”) uncovered a weapons cache in Yassin’s house. He was later
 arrested and convicted of “establishing a radical Islamic religious organization whose aim was to destroy the State of
 Israel and replace it with a religious Islamic state.” He was sentenced to 13 years in prison but was released a year
 later as part of the “Jibril Prisoners’ Exchange” on May 21, 1985.
 8
          The term “Zakat” means tithing in Arabic. This is one of the five Pillars of Islam (Arkan al-Islam). It is
 loosely used herein to refer to a form of semi-compulsory charitable giving.


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         527.    HAMAS members who were deported to Marj al-Zuhur have a special place in the

 Movement’s history, and quickly became the most iconic members of HAMAS and later emerged

 as key leaders of the HAMAS da’wa.

         528.    The international community condemned the deportations and at the end of 1993

 the Israeli Supreme Court ultimately determined that the Government of Israel was compelled to

 return the Marj al-Zuhur deportees.

         529.    The saga transformed the Marj al-Zuhur deportees into celebrities within the

 Palestinian arena. The HAMAS deportees later became the backbone of HAMAS leadership.

         530.    On September 13, 1993, President Clinton hosted the signing ceremony in

 Washington, D.C. for the so-called “Oslo Accords” presented by Yasser Arafat (PLO Chairman)

 and Israel’s Prime Minister Yitzhak Rabin and his foreign minister, Shimon Peres.

         531.    The agreement had several significant aspects, including the withdrawal of Israeli

 forces from parts of the West Bank and Gaza, and the creation of the Palestinian National Authority

 (PA), headed by PLO Chairman Yasser Arafat.

         532.    Under the agreement, the newly formed PA would perform the services previously

 provided by Israel, including education, health, social welfare, taxation and tourism.

         533.    The agreement also included Letters of Mutual Recognition, whereby the Israeli

 Government recognized the PLO as the legitimate representative of the Palestinian people, while

 the PLO recognized the right of Israel to exist and purportedly renounced terrorism, violence and

 the desire for the destruction of Israel.

         534.    The Oslo Accords were not, however, universally accepted by the Palestinian

 factions.

         535.    HAMAS rejected the agreement for its recognition of Israel’s right to exist.




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        536.     For HAMAS, the Oslo Accords contradicted its most valued tenet - the destruction

 of the State of Israel and the creation of an Islamic state in all of what is today Israel, the West

 Bank, and the Gaza Strip.

        537.     Accordingly, HAMAS pursued a three-pronged strategy in the early 1990s.

        538.     First, it upgraded its terror apparatus, improving the capabilities of its Qassam

 Brigades and beginning to perfect its bomb-making skills.

        539.     Second, it intensified its efforts to subvert existing social welfare institutions –

 particularly in the West Bank – in order to systematically gain control of pre-existing zakat

 committees and other religious and social institutions that would ultimately compete with the PA

 for the “hearts and minds” of the Palestinian public in Gaza, the West Bank and even the

 Palestinian refugee camps in Jordan and Lebanon.

        540.     Third, it accelerated the development of its world-wide fundraising network. While

 HAMAS enjoyed support from wealthy patrons in the Persian Gulf even in its prior incarnation as

 Sheikh Yassin’s Muslim Brotherhood “branch” in Gaza, the Oslo Accords galvanized the

 Brotherhood’s supporters in Europe, Africa and even the United States.

        541.     HAMAS fundraisers and other operatives located abroad are key members of the

 HAMAS da’wa, closely tied to da’wa and Qassam Brigades operatives on the ground in the West

 Bank and the Gaza Strip, as well as to HAMAS political leaders in Turkey, Qatar and elsewhere

 in the Middle East.

        C.       HAMAS’s European Fundraising Network

        542.     CBSP (“Comité de Bienfaisance et de Secours aux Palestiniens”), HAMAS’s

 primary fundraiser in France, was founded in 1990 and registered there as a non-profit

 organization.




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         543.       The Israeli government declared CBSP an illegal organization on May 6, 1997

 because of its affiliation with HAMAS and the support it gave to HAMAS-affiliated institutions,

 and subsequently designated it a terrorist organization on January 17, 1998.

         544.       Interpal, HAMAS’s most important fundraising organization in the United

 Kingdom was formally registered as a charity with the U.K. Charity Commission on August 11,

 1994 and named at the time as the “Palestinian Relief and Development Fund.”

         545.       As early as 1995, published reports in Israel linked Interpal to HAMAS.

         546.       The Israeli government declared Interpal an illegal organization on May 6, 1997

 because of its affiliation with HAMAS and the support it gave to HAMAS-affiliated institutions,

 and subsequently designated it a terrorist organization on January 17, 1998.

         547.       On August 22, 2003, following the aforementioned deadly suicide bombing aboard

 Bus 2 in Jerusalem on August 19, 2003 in which Tehilla Nathansen was killed and multiple

 members of her family severely injured, the U.S. Treasury designated five HAMAS-related

 charities and six senior HAMAS leaders as SDGTs.

         548.       The five HAMAS-related institutions that were designated as SDGTs were:

                    1.     Comité de Bienfaisance et de Secours aux Palestiniens (“CBSP”),
                           of France.

                    2.     Association de Secours Palestinien (“ASP”), of Switzerland (an
                           organization affiliated with CBSP).

                    3.     Palestinian Relief and Development           Fund,   or   Interpal,
                           headquartered in the United Kingdom.

                    4.     Palestinian Association in Austria (“PVOE”).

                    5.     Sanabil Association for Relief and Development based in Lebanon.

         549.       The U.S. Treasury Press Release announcing the designations of these five

 entities stated:



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                The United States government has credible evidence that the following five
                organizations are part of a web of charities raising funds on behalf of
                HAMAS and using humanitarians [sic] purposes as a cover for acts that
                support HAMAS. Funds are generated by, and flow through, these
                organizations on behalf of HAMAS.

        550.    According to the U.S. Treasury Department, “Interpal, headquartered in the UK,

 has been a principal charity utilized to hide the flow of money to HAMAS. Reporting indicates it

 is the conduit through which money flows to HAMAS from other charities, e.g., the Al-Aqsa

 Foundation (designated under EO 13224 on May 29th) and oversees the activities of other

 charities. … Reporting indicates that Interpal is the fundraising coordinator of HAMAS. This role

 is of the type that includes supervising activities of charities, developing new charities in targeted

 areas, instructing how funds should be transferred from one charity to another, and even

 determining public relations policy.”

        551.    Nonetheless, BANK OF PALESTINE did not stop processing transfers for Interpal

 and other designated HAMAS fundraising entities.

        552.    In fact, even in 2016, BANK OF PALESTINE jointly sponsored “The Palestine

 Festival for Childhood Education” with Interpal, by then an SDGT for thirteen years.

        553.    According to the U.S. Treasury Department, “CBSP and ASP are primary

 fundraisers for HAMAS in France and Switzerland, respectively. Founded in France in 1990,

 CBSP acts in collaboration with more than a dozen humanitarian organizations based in different

 towns in the West Bank and Gaza and in Palestinian refugee camps in Jordan and Lebanon. ASP,

 a subsidiary of CBSP, was founded in Switzerland in 1994. The group has collected large amounts

 of money from mosques and Islamic centers, which it then transfers to sub-organizations of

 HAMAS. Khalid Al-Shuli is the president of CBSP and ASP.”

        554.    According to the U.S. Treasury Department, “PVOE is controlled by the leader of

 HAMAS in Austria. The money is targeted to support members of HAMAS and is funneled


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 through other charities in Lebanon, the West Bank and Gaza or other areas of the Middle East in

 order to ensure the transfer of funds is undetected and reaches its intended recipients. PVOE is part

 of the HAMAS network of charitable organizations that includes the Al-Aqsa Foundation.”

         555.    The six senior HAMAS leaders who were designated SDGTs were:

                 1.     Sheikh Yassin, the founder and spiritual leader of HAMAS.

                 2.     Imad Khalil Al-Alami, a member of HAMAS’s Political Bureau in
                        Damascus, Syria.

                 3.     Osama Hamdan, a senior HAMAS leader in Lebanon.

                 4.     Khalid Mishal, (then) head of HAMAS’s Political Bureau and
                        Executive Committee in Damascus, Syria.

                 5.     Moussa Abu Marzouk, (then) Deputy Chief of HAMAS’s Political
                        Bureau in Syria.

                 6.     Abd al-Aziz al-Rantisi, (then) HAMAS leader in Gaza reporting to
                        Sheikh Yassin.

         556.    The Al-Aqsa Foundation, a major fundraiser for HAMAS, had branch offices in

 Holland, Belgium, Denmark, Sweden, Yemen, South Africa, and Pakistan. It was founded in July

 1991 in Germany (Al-Aqsa e.V.), where it was headquartered, and which served as its main branch

 until at least 2002.

         557.    On May 6, 1997, Israel outlawed the Al-Aqsa Foundation (including its German

 headquarters). On January 17, 1998, Israel declared it a terrorist organization.

         558.    In July 2002, the German government closed the offices of the Al-Aqsa Foundation

 located in Germany.

         559.    According to the closure order, “AL-AQSA e.V. advocates, supports and calls for

 violence as means to achieve political, religious or other goals by awakening or at least

 strengthening the willingness of third parties to use violence as a political, religious or other

 means.”


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        560.   With respect to Al-Aqsa’s connection to HAMAS, the order stated: “AL-AQSA

 e.V. already financially supported the predecessor organization of HAMAS, the “Al-Mujama Al-

 Islamiya” and to this day forwards at least some of the incoming donations to HAMAS. The funds

 resulting from collections of donations are flowing either directly to HAMAS or via seemingly

 unsuspected aid organizations.”

        561.   On May 29, 2003, the U.S. Treasury Department designated all branches of the Al-

 Aqsa Foundation as an SDGT pursuant to Executive Order 13224.

        562.   The U.S. Treasury Press Release announcing Al-Aqsa’s designation stated:

               Al-Aqsa is a critical part of Hamas’ terrorist support infrastructure.
               Through its headquarters in Germany and branch offices in the Netherlands,
               Denmark, Belgium, Sweden, Pakistan, South Africa, Yemen and elsewhere,
               Al-Aqsa funnels money collected for charitable purposes to Hamas
               terrorists.

               Other nations, including the Netherlands, Germany, Denmark, Britain,
               Luxembourg and Switzerland, have also taken action against the Al-Aqsa
               Foundation.

        D.     HAMAS in the United States – the Holy Land Foundation (“HLF”)

        563.   In October 1993, less than one month after the public signing of the Oslo Accords,

 approximately 20 members of the so-called “Palestine Committee” in the United States gathered

 together in Philadelphia, Pennsylvania to discuss how to help HAMAS oppose the Oslo Accords.

        564.   The Federal Bureau of Investigation learned of the Philadelphia meeting and

 obtained a warrant from the Foreign Intelligence Surveillance Court to monitor the meeting, which

 lasted approximately three days.

        565.   During the meeting, the participants discussed the problems that the Oslo Accords

 presented for those opposed to co-existence with Israel and attendees were admonished not to

 mention “HAMAS,” but rather to refer to it as “Samah,” which is HAMAS spelled backwards.




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        566.   Attendees agreed that they must operate under an ostensible banner of apolitical

 humanitarian exercise in order to continue supporting HAMAS’s vital social recruitment effort by

 financially supporting institutions, organizations and programs in the West Bank and Gaza aligned

 with the HAMAS movement.

        567.   Attendees identified several charitable societies and zakat committees as “ours.”

        568.   The Holy Land Foundation emerged from the Philadelphia meeting as the

 preeminent HAMAS fundraising organization in the United States.

        569.   However, neither the HLF nor the U.S.-based Palestinian Committee worked in

 isolation on behalf of HAMAS.

        570.   While HLF was a vital member of HAMAS’s international network of

 organizations dedicated to financing the HAMAS agenda, it also worked in conjunction with

 organizations in Europe and throughout the world to funnel money to the same closed network of

 HAMAS-controlled charity committees in the West Bank and Gaza.

        571.   These other organizations – including The Palestinian Relief and Development

 Fund (Interpal) in Great Britain, the Al-Aqsa Foundation in Germany, Belgium and Holland, the

 Comité de Bienfaisance et de Secours aux Palestiniens (CBSP), in France, the Association de

 Secours Palestinien (ASP) in Switzerland; the Palestinian Association in Austria (PVOE); and the

 Palestinian Branch of the World Organization of Muslim Youth (WAMY) – all operated in similar

 ways, sharing fundraising techniques, projects, and connections to HAMAS leaders.

        572.   On March 15, 1996, a feature article in The New York Times detailed the financing

 of HAMAS by so-called charitable organizations. The article specifically discussed Israeli

 government claims that Richardson Texas-based HLF was a “key fundraising operation” for

 HAMAS and discussed HAMAS’s social infrastructure.




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           573.   The Jerusalem Post reported May 20, 1996 on proceedings in the High Court of

 Justice resulting in a decree by the Israeli government shutting down the Holy Land Foundation's

 Jerusalem office and authorizing confiscation of all its property.

           574.   On May 6, 1997, the government of Israel designated HLF a HAMAS organization

 and declared that HLF “deals in the practice of transferring monies to families of HAMAS

 activists, who carried out deadly attacks ….”

           575.   BANK OF PALESTINE opened and maintained a U.S. dollar-denominated

 account for HLF in 1994 under Account No. 101377/7.

           576.   This account appears to have been under the direct control of HAMAS founder

 Ibrahim al-Yazuri (discussed below) and tied directly to HAMAS’s Islamic Society of Gaza.

           577.   HLF made multiple transfers from the United States to this account in Gaza.

           578.   On December 4, 2001, HLF, a U.S.-based organization which provided millions of

 dollars to HAMAS, was designated an SDGT pursuant to Executive Order 13224 and an SDT

 under Executive Order 12947. HLF’s designation was accompanied by an order blocking all its

 assets.

           579.   The U.S. Treasury Press Release announcing HLF’s designation stated, inter alia:

                     The Holy Land Foundation for Relief and Development, headquartered
                      in Richardson, Texas, raises millions of dollars annually that is used by
                      HAMAS. Last year, Holy Land raised over $13 million.

                     Holy Land supports HAMAS activities through direct fund transfers to
                      its offices in the West Bank and Gaza that are affiliated with HAMAS
                      and transfers of funds to Islamic charity committees (“zakat
                      committees”) and other charitable organizations that are part of
                      HAMAS or controlled by HAMAS members.

                     Musa Muhammad Abu Marzook, a political leader of HAMAS,
                      provided substantial funds to the Holy Land Foundation in the early
                      1990s. In 1994, Marzook (who was named a Specially Designated
                      Terrorist by the Treasury Department in 1995) designated the Holy


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                   Land Foundation as the primary fund-raising entity for HAMAS in the
                   United States.

        580.   These findings were in part the product of an extensive FBI investigation that

 culminated in what has come to be referred to as the “Watson Memorandum” – named after former

 FBI official Dale Watson.

        581.   The FBI report observed:

               It is the FBI’s analysis that the zakat committees receiving HLFRD [Holy
               Land Foundation] financial support are controlled by HAMAS. GOI
               [Government of Israel] analysis has also determined that HAMAS activists
               have been elected or appointed to senior leadership positions on these zakat
               committees. GOI analysis, as well as open source reporting, has identified
               that the civilian population is aware that the services being provided by the
               zakat committees, whether it's the distribution of food, medical services or
               other social services, are being provided by HAMAS.

        582.   These large deposits were then often translated into checks written by HLF in the

 Palestinian Territories to HAMAS da’wa institutions in smaller increments.

        583.   For example, HLF drafted separate checks on September 30, 2000 to three branches

 of the Al-Jam’iya Al-Islamiya (the Islamic Society) for $2,906, $6,615 and $2,687.

        584.   Palestinian media widely reported the U.S. Government’s actions against HLF.

        585.   For example, the Palestinian daily newspaper Al-Quds reported on the freezing of

 HLF’s accounts on December 5, 2001.

        586.   In 2004, HLF and several of its directors were indicted on criminal charges that it

 was illegally providing material support to HAMAS.

        587.   In 2008, after a jury trial, HLF and five of its former directors were found guilty of

 illegally transferring more than $12 million to HAMAS.




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        E.      Early Media Coverage of the HAMAS Da’wa

        588.    As early as 1994, HAMAS fundraising activities were discussed in the media. For

 example, an article in The New York Times reported:

                HAMAS funding of all its activities is estimated by the Israelis at about $30
                million a year. It comes from money collected by associations operating
                largely abroad but with ties to the international Muslim Brotherhood
                network. Money is also collected from Islamic and Arab communities in the
                United States and in Britain, the Netherlands and other Western European
                locations.

        589.    Also, on April 14, 1994, The Globe and Mail (Canada) published an article titled,

 “Hamas evolves from political to military group” by Patrick Martin.

        590.    The article explained HAMAS’s da’wa in straightforward terms and identified its

 best-known institution:

                The group calling itself Hamas first made its appearance in 1987, at the start
                of the Palestinian uprising known as the intifada. Concentrated in Gaza,
                where Islamic tendencies have always been strong, it stemmed from a
                decade-old Islamic movement known as the Mujamma…. Sheik Yassin,
                who had been an activist in the older Muslim Brotherhood, had been
                imprisoned by the Egyptians during the regime of Gamal Nasser. When the
                Mujamma turned into the political movement Hamas, Sheik Yassin was
                again arrested, this time by the Israelis.

        591.    In 1996, The New York Times reported on HAMAS’s intensified fundraising for

 its network of institutions:

                Israeli, Palestinian and Western intelligence officials say Jordan is a major
                conduit for much of the Hamas budget, estimated at $70 million a year,
                nearly all of it for the social service network of mosques, hospitals, schools
                and other institutions that form the movement’s political base in the West
                Bank and Gaza Strip.

                …Jordan, intelligence officials say, is a major path through which money
                reaches the Hamas network of mosques and charities. Jordanian intelligence
                reports indicate that much of the money is coming from the Persian Gulf
                emirates and Saudi Arabia.

        592.    On September 17, 1997, the British-based Mideast Mirror published an article


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 titled “How to break the deadlock: Armed resistance, plus Arab pressure on U.S.”

        593.   The article quotes the Arabic press regarding Gulf State sources of funding for

 HAMAS:

               According to al-Hayat's sources, only some $ 10 million dollars is raised
               annually by Palestinian Islamist charities in the Gulf, most of which is paid
               directly to visiting fund-raising delegations or the charities' bank accounts
               in Jordan, or via Palestinian support groups based in the U.S. or Britain.

               Gulf-based charities also say they make a point of ensuring that recipients
               are recognized by the Jordanian religious affairs ministry or the PA's
               Jerusalem-based religious affairs department. They include the Zakat (alms)
               Committees in Hebron, Jerusalem, Tulkarem, Kalkilya and Gaza, which
               fund schools, Koran teaching classes and orphanages, provide cash or food
               aid to the families of martyrs, and run self-help schemes for needy families.
               Gulf funding also sustains the Islamic Charitable Society in Hebron,
               Jerusalem's Makassed Hospital, and the Wafa Society in Gaza which looks
               after the elderly.

               Gulf donors also insist that they have always dealt openly with such
               organizations, which Israel accuses of constituting the “infrastructure” of
               Hamas. “We used to work with these organizations in broad daylight in the
               days of direct Israeli occupation, and continued dealing with them under the
               PA, though regrettably the pressures increased with the advent of the PA,”
               al -Hayat quotes one aid worker as saying.

               As for higher educational institutions, the main recipient of Gulf aid is Gaza
               Islamic University, which has long been described as a “Hamas
               stronghold.”

        594.   An August 11, 2001 article in the Washington Post reported:

               On the streets of Gaza, and to a somewhat lesser extent in the West Bank,
               Hamas’s status has been underpinned by a network of medical clinics,
               schools and welfare institutions that distribute free and subsidized food to
               the needy.

               According to Yassin, the group distributes $2 million to $3 million in
               monthly handouts to the relatives of Palestinian suicide bombers; “martyrs”
               who have been killed by Israelis; and prisoners in Israeli jails. When
               pressed, he was vague about the provenance of the money, which, according
               to the State Department, comes mainly from Palestinians overseas, Iran and
               private benefactors in Saudi Arabia and other moderate Arab states.




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                   Under pressure from Israel and the West, Arafat cracked down on Hamas
                   and Islamic Jihad following the suicide bombings in 1996. Scores of Hamas
                   activists were jailed, and the terror attacks on Israel faded.

        595.       On September 25, 1997, the Palestinian Authority temporarily closed what it

 identified as 16 HAMAS institutions and associations, including HLF’s Gaza office, Al-Mujama

 Al-Islami (Islamic Center – Gaza) and Al-Jam’iya Al-Islamiya (Islamic Society – Gaza).

        596.       The closures, including identification of HLF as a targeted HAMAS entity, were

 detailed in a Jerusalem Post news account on September 28, 1997.

        F.         Initial U.S. Designations of HAMAS

        597.       On January 24, 1995, pursuant to Executive Order 12947, the President designated

 HAMAS as a Specially Designated Terrorist organization.

        598.       This designation made it illegal for any United States person or entity to engage in

 any unlicensed transactions or dealings involving the property or interests of HAMAS.

        599.       HAMAS’s designation as an SDT has remained in place since January 24, 1995.

 On October 31, 2001, Hamas was added to the entities designated as Specially Designated Global

 Terrorists (“SGDT”), pursuant to Executive Order 13224 issued by President George W. Bush.

 HAMAS’s designation as an SDGT has remained in place since October 31, 2001.

        600.       On October 8, 1997, the Secretary of State designated HAMAS as a “Foreign

 Terrorist Organization” under section 219 of the Immigration and Nationality Act. That

 designation has remained in place since October 8, 1997, including throughout the relevant period

 of this Action.

        601.       As a result of HAMAS’s designation as an FTO, it became illegal for any person

 within the United States or subject to its jurisdiction to provide material support or resources to

 HAMAS.




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         602.    In 1996, under heavy pressure from Israel, the Palestinian Authority (“PA”) (under

 the leadership of Yasir Arafat and the PLO), which had just been established, very publicly took

 steps against HAMAS as a result of a wave of HAMAS terrorist attacks that took the lives of 56

 Israelis.

         603.    Over the years, the PA would, from time to time, attempt to take measures against

 the zakat committees and other organizations run by HAMAS. Closures and arrests were always

 temporary.

         G.      The Second Intifada

         604.    The Second Intifada (“al-Quds” or “al-Aqsa Intifada”), which broke out in

 September 2000, was a key turning point in HAMAS’s history.

         605.    In the initial weeks of the Second Intifada, large demonstrations were organized in

 several Palestinian cities. During this period, a Palestinian mob in Ramallah attacked two off-duty

 Israeli reservists, lynched them, and celebrated their deaths – with much of the scene captured on

 camera.

         606.    Soon thereafter, HAMAS, Palestinian Islamic Jihad and the Palestinian Authority’s

 ruling faction, Fatah, all launched attacks on Israeli civilian centers, military installations, vehicles,

 and civilians through suicide bombings, drive-by shootings, and rocket launchings, which killed

 over 1,000 Israelis, and left thousands severely wounded.

         607.    From September 2000 forward, support by the Palestinian public for HAMAS grew

 steadily.

         608.    It won elections at Palestinian universities, trade unions, and later in municipal

 elections in May 2005.




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          609.     For approximately the next four years after the outbreak of the uprising, HAMAS

 launched hundreds of terrorist attacks targeting civilians that have resulted in the deaths and injury

 of hundreds of individuals, including numerous American citizens.

          610.     HAMAS’s improved political standing among the Palestinians was a result of the

 work of its da’wa institutions which served as a supportive framework for HAMAS’s terror

 activities, including the use of suicide terrorists, in three main areas:

                       HAMAS’s da’wa’s educational institutions9 contributed to the
                        indoctrination of young Palestinians into what became a “culture of
                        martyrdom for Allah,” praising the religious virtues of those who
                        sacrificed themselves in the framework of Jihad against Israel. Suicide
                        terrorists earned a place of honor when they received special praise as
                        martyrs (shuhada).

                       HAMAS’s da’wa’s institutions served as a mechanism by which to
                        transfer money to orphans, widows and other relatives of suicide
                        terrorists and movement prisoners, and thus provided a unique safety
                        net for potential recruits concerned that their families would be
                        adversely affected by their deaths or imprisonment. HAMAS
                        committees collected the names of their activists who were killed by
                        Israel and would then solicit aid from its network of charitable societies
                        abroad. In 2001, Sheikh Yassin, in an interview cited in the Washington
                        Post, publicly disclosed that the da’wa infrastructure distributed $2-3
                        million dollars to the families of suicide bombers and prisoners.

                       HAMAS’s da’wa infrastructure provided a reservoir of new recruits for
                        suicide attacks and for HAMAS’s terror and murder apparatus.

          H.       Cultivation of the Culture of Death

          611.     HAMAS’s da’wa’s institutions played (and play) a central role in financing the

 terror campaign by providing the means of raising funds to maintain the institutions that serve as


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          The da’wa institutions include kindergartens, schools, clubs, mosques, Quran recitation classes and student
 councils, most of which were controlled by HAMAS in the course of the Second Intifada. The da’wa also funds
 student associations such as al-Kutla al-Islamiya, which is a key source for recruiting operatives into the al-Qassam
 Brigades. For example, during the first year of the Second Intifada, at least five students from al-Najah University
 carried out suicide terrorist attacks. Other suicide terrorists were students at Hebron Polytechnic University and at al-
 Quds Open University. The HAMAS charitable societies also ran summer camps, in which systematic indoctrination
 for hatred against Israel took place.


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 recruiting grounds for HAMAS.

         612.    As set forth in an internal HAMAS memorandum captured by the Israeli army

 during a raid of the offices of the Islamic Charitable Society – Hebron, HAMAS has arranged for

 the “transfer [of] large sums” to the charitable committees and other HAMAS da’wa’s institutions

 through the “charity activities” of their operatives abroad.

         613.    The memorandum emphasizes that HAMAS “require[s] new bank account

 numbers for money transfers” and promises that HAMAS will:

                 invest efforts to transfer money for the martyrs (the shuhada) and prisoners,
                 via the transfer [to] charitable institutions. This is a primary goal in the
                 framework of the effort to transfer aid money to these institutions, so that
                 these budgets are released in the best manner and in order to bring about an
                 improvement in the level of the movement’s performance.
         614.    The memorandum concludes with the promise that HAMAS will continue to “build

 up the activities and operations” of its charitable organizations by, among other things, “taking

 advantage of the conditions and the atmosphere of death.”

         615.    Through its network of charitable organizations, since the early 1990’s HAMAS

 has intensified its efforts to consolidate its position within Palestinian society via its social and

 welfare projects.

         616.    Although these organizations perform actual social work and provide charitable

 services, they also raise substantial funds for HAMAS’s political and operational terrorist

 infrastructure and free up money to be redirected to those latter ends.

         617.    These charitable organizations provide streams of income to HAMAS operatives,

 assist HAMAS in recruiting new supporters, generate and disseminate HAMAS propaganda and

 compete with the Palestinian Authority in delivering social services and facilitating payments of

 honorariums (including “martyr” payments) to families of HAMAS operatives killed, injured or

 imprisoned as a result of their terrorist activities.


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         618.    Funds raised by HAMAS’s charitable and social organizations are fungible and are

 allocated in part to terrorist activities (including recruitment, training, and propagandizing) or used

 to free up other funds that are then allocated for terrorist activities, including planning and carrying

 out suicide bombings and other violent attacks.

 II.     CORE INSTITUTIONS OF HAMAS’S SOCIAL WELFARE NETWORK IN GAZA

         A.      Key HAMAS Institutions in Gaza

         619.    At the Philadelphia Conference in 1993, the FBI’s wiretaps caught the words of Dr.

 Mu’in Shabib, a HAMAS operative, describing the close connection between HAMAS and several

 of its core institutions in Gaza:

                 The principal organization known to be affiliated with us is the Islamic
                 University of the Gaza region, and we will speak later regarding solutions.
                 We mention it because it is a real wound in our heart. Number two, the
                 Islamic Complex, which was founded in 1973 and received a license in
                 1976. The activities of the Complex were then more comprehensive.
                 The Islamic Society, which was founded in 1976. The al-Salah Society in
                 the region (Gaza), which supervises the sacrifices and other matters. The
                 Young Women’s Muslim Association and the al-Wafa Society for the
                 Care of the Elderly, the orphanage, a number of charity committees, a
                 number of social service institutions which received new licenses, such as
                 the Institution for Law and Justice, which cares for the prisoners. (Emphasis
                 added.)

                 1.      Islamic University of Gaza

         620.    As noted above, the Islamic University of Gaza was established in 1978 after the

 Egyptian government retaliated against the PLO for its criticism of Egypt peace treaty with Israel

 and blocked Gazan students from studying in Egypt.

         621.    Sheikh Yassin used the controversy to orchestrate the violent removal of the

 university’s PLO-affiliated administration by Al-Mujama Al-Islami members. It took five years,

 but Yassin ultimately gained control and the university was split into entities: Al-Azhar University,

 which the PLO continued to control; and the Islamic University of Gaza, which came under the



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 control of Al-Mujama Al-Islami and Yassin.

        622.      Since the 1990s, the Islamic University of Gaza has been identified exclusively

 with HAMAS and has served as its principle source for recruitment of people into the

 organization’s ranks in Gaza, including into the ranks of the Qassam Brigades. Many students of

 the Islamic University of Gaza were recruited by Qassam Brigades, and committed suicide attacks

 during the Second Intifada, among them Nafedh Ayesh Mustafa al-Nadher, who blew himself up

 near a bus heading to Kfar Darom on July 9, 2001, thus “killing many of the sons of monkeys and

 pigs, the cowardly Zionist infidels”, according to the Qassam Brigades website.

        623.      The Qassam Brigades also used the Islamic University’s facilities for its military

 purposes, such as storing weapons in it; exploiting the University’s laboratories for developing

 and manufacturing weapons; and holding secret meetings of the Brigades’ commanders and

 members in it.

        624.      HAMAS’s founders Salah Shehadah (who later founded HAMAS’s Qassam

 Brigades), Ibrahim Fares al-Yazuri and Abd al-Aziz al-Rantisi were among several prominent

 HAMAS leaders who were publicly affiliated with the University. In fact, more than ten percent

 (47) of the Marj al-Zuhur deportees were employees, administrators or students at the Islamic

 University of Gaza.

        625.      Khalil Isma’il Ibrahim al-Haya who also served as Deputy Chairman of Al-Mujama

 Al-Islami in the Gaza Strip between 2002 and 2005 lectured in Islamic Law at the Islamic

 University of Gaza. He is now the deputy of HAMAS’s senior leader in Gaza, Yahya Sinwar.

 HAMAS leader Ismail Haniya (SDGT) served as the dean of the University of Gaza. Muhammad

 Saleh Taha, a co-founder of Al-Mujama Al-Islami, also lectured at the Islamic University as did

 other HAMAS luminaries, including Ahmed Bahar and Mahmud al-Zahar.




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          626.   From the early 1990s through 2004, the Islamic University of Gaza enjoyed

 financial support from CBSP, Interpal, the Al-Aqsa Foundation – Germany and many other

 HAMAS fundraising organizations.

          627.   BANK OF PALESTINE maintained accounts for and provided financial services

 to the Islamic University of Gaza.

          628.   The accounts included Account No. 1112222, Rimal branch and Account No.

 1100280.

                 2.     The Islamic Center (or Complex) – Gaza (Al-Mujama Al-Islami)

          629.   As noted above, Al-Mujama Al-Islami (the Islamic Center) was established in 1973

 by Ahmed Yassin, the founder of HAMAS and the organization’s spiritual leader.

          630.   The foundations, infrastructure, and key operatives of Al-Mujama Al-Islami laid the

 basis for the establishment of HAMAS, the future growth and expansion of HAMAS in the Gaza

 Strip, and later throughout the Palestinian arena.

          631.   Both Al-Mujama Al-Islami and Al-Jam’iya Al-Islamiya (the Islamic Society), which

 was founded three years later, in 1976, opened branches throughout the Gaza Strip.

          632.   In 1978, a branch of Al-Mujama Al-Islami was established in Khan Yunis.

          633.   In that same year several kindergartens which belonged to the organization in Gaza,

 were established.

          634.   In 1985, Al-Mujama Al-Islami’s al-Aqsa School was built in Khan Yunis. Shortly

 after the organization’s establishment, additional seven branches were set up throughout the Gaza

 Strip.

          635.   These branches were run by people who later would become the founders of

 HAMAS, including al-Rantisi (the branch in Khan Yunis Refugee Camp), and Abd al-Fatah




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 Dukhan (Nusairat branch).

        636.      From the early 1990s through 2004, Al-Mujama Al-Islami enjoyed financial support

 from the Holy Land Foundation in the United States (before it was declared a terrorist organization

 by the United States administration and its assets frozen in 2001) as well as CBSP, Interpal, Human

 Appeal International, the Al-Aqsa Foundation – Germany and many other HAMAS fundraising

 organizations.

        637.      A 2000 fundraising brochure explicitly linked Al-Mujama to Al-Aqsa Foundation -

 Germany. The brochure referred to the “fragrance of the blood of the martyrs and wounded which

 watered the pure soil” and confirmed that Al-Aqsa Foundation donors “are committing Jihad with

 your monies in the land of [the people of] steadfastness, whose blood is violated and whose

 sanctuaries are desecrated everyday...”

        638.      In an article on the popular Islamist website Islamonline.net, Ismail Haniya,

 prominent Hamas leader in the Gaza Strip, stated that Al-Mujama Al-Islami, Al-Jam’iya Al-

 Islamiya and Al-Salah Charitable Society provide financial support to the martyrs’ families, the

 injured, the prisoners and the detainees of the Intifada.

        639.      Following are details of the most important key figures in Al-Mujama Al-Islami:

                     Ahmed Yassin: Sheikh Yassin, one of the founders of HAMAS and the
                      founder of Al-Mujama Al-Islami. Yassin was arrested in 1984 after
                      founding al-Mujahidun al-Filastiniyun10 and was sentenced to 13 years’
                      imprisonment. He was released in 1985 as part of the “Jibril Prisoners’
                      Exchange” and then arrested a second time in 1989, tried and sentenced
                      to life imprisonment for his role in planning the murder of two Israeli
                      soldiers before being released from prison once more, as a result of a
                      botched Israeli assassination attempt in Jordan in 1997. On January 25,
                      1995, the U.S. Department of Treasury designated Yassin a Specially
                      Designated Terrorist. Upon his return to Gaza, Yassin rebuilt his
                      standing within the HAMAS leadership. On August 22, 2003, the
                      United States declared him a Specially Designated Global Terrorist for
                      his involvement in HAMAS. On March 22, 2004, Yassin was killed by
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        The organization was the Muslim Brotherhood’s precursor to HAMAS’s Qassam Brigades.


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                 Israel’s security forces. To this day, Yassin has remained an object of
                 admiration for HAMAS supporters, who see him as a source of authority
                 and inspiration for the continuation of their jihad against Israel.

                Abd al-Aziz al-Rantisi: Rantisi was one of the seven founders of
                 HAMAS, and one of the organization’s key leaders in the Gaza Strip.
                 With the founding of HAMAS in 1987, Rantisi was appointed to head
                 the military wing (Qassam Brigades) in the southern districts of the
                 Gaza Strip. Rantisi served as a member of Al-Mujama Al-Islami’s
                 administrative board and founded the organization’s Khan Yunis
                 branch. In 1992 he was temporarily deported, along with other senior
                 members of HAMAS, to Marj al-Zuhur, where he served as HAMAS’s
                 chief spokesman to the Western media. In March 1998, Rantisi was
                 arrested by the Palestinian Authority and held for a period of 15 months
                 for his continued activities related to HAMAS. He was considered the
                 most radical voice within HAMAS political leadership in the Palestinian
                 Territories. He publicly and explicitly encouraged HAMAS operatives
                 to carry out suicide actions against Israel; he praised those who
                 responded to the call for “self-sacrifice” and preached ceaseless war that
                 would end with the destruction of Israel. On August 22, 2003, the United
                 States designated Rantisi an SDGT. After Sheikh Yassin was killed by
                 Israeli forces on March 22, 2004, Rantisi was declared his successor and
                 appointed as leader of HAMAS in the Palestinian Territories. On April
                 17, 2004, Rantisi was killed by Israel’s security forces.

                Ibrahim Fares al-Yazuri: Yazuri was one of the “founding fathers” of
                 HAMAS and a close friend of Ahmed Yassin. Additionally, he was one
                 of the founders of Al-Mujama Al-Islami in the seventies and a member
                 of the organization’s administrative board of from its inception. Yazuri
                 served as Chairman of Al-Mujama Al-Islami following Yassin’s arrest
                 and imprisonment in 1984. In 2000, he was listed as the Secretary
                 General of Al-Mujama Al-Islami. He also taught at the Islamic
                 University of Gaza. Yazuri was later sentenced to 26 months
                 imprisonment in Israel because of his HAMAS-related activities and
                 subsequently arrested several times by the Palestinian Authority
                 (following terrorist attacks carried out by HAMAS against Israel).

                Muhammad Hasan Sham’a: Sham’a was involved in the
                 establishment of Al-Mujama Al-Islami and oversaw the organization’s
                 public relations. Sham’a was also listed as Deputy Secretary General of
                 Al-Mujama Al-Islami. Subsequently he was one of the seven founders
                 of HAMAS and one of its political leaders. He was among the deportees
                 to Marj al-Zuhur and was later arrested by the Palestinian Authority in
                 1995 and 1998.

                Issa Khalil al-Nashar (Abu Ali): Al-Nashar was one of the seven


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                 “founding fathers” of HAMAS and was responsible for its activities
                 held in Rafah (Gaza). Al-Nashar was briefly arrested by Israel in 1988
                 for his membership in HAMAS and later deported to Marj al-Zuhur. In
                 November 1995, he participated in the creation of HAMAS’s National
                 Islamic Salvation Party and served as head of its political bureau. In
                 1995, Al-Nashar was detained for four months by the Palestinian
                 Authority’s Security Forces.

                Khalil Isma’il Ibrahim al-Haya: Haya served as Deputy Chairman of
                 Al-Mujama Al-Islami in the Gaza Strip between 2002 and 2005. In 1981,
                 during his studies at the Islamic University of Gaza, he was a member
                 of the Islamic Students’ Association (al-Kutla al-Islamiya) and tried –
                 on several occasions – to take over the University’s campus together
                 with other members of Al-Mujama Al-Islami. He served as Chairman of
                 the HAMAS faction in the Palestinian Legislative Council in the years
                 2006-2007 and was one of the best-known HAMAS leaders in the Gaza
                 Strip. He was imprisoned by Israel in 1991 for activities connected with
                 HAMAS.

                Abd al-Fatah Dukhan: Dukhan was one of the seven founders of
                 HAMAS. He served as head of the Al-Mujama Al-Islami branch in
                 Nusairat Refugee Camp and was one of the Marj al-Zuhur deportees.
                 He has served as a member of the Palestinian Legislative Council as part
                 of HAMAS’s Change and Reform Party.

                Khalil Ibrahim al-Quqa: Al-Quqa was one of the founders of Al-
                 Jam’iya Al-Islamiya and headed the Al-Mujama Al-Islami branch in
                 Shati. He was also one of the first to join the HAMAS Movement. Al-
                 Quqa was deported by Israel to Lebanon in 1988, and from there he
                 moved to Tunis and later Egypt. Two years later he was expelled from
                 Egypt (1991) to the United Arab Emirates, where he died of natural
                 causes in 2005.

                Muhammad Saleh Taha (Abu Ayman): Taha took part together with
                 Ahmed Yassin in the founding of Al-Mujama Al-Islami and served as a
                 member of the organization’s Administrative Council. He was arrested
                 on several occasions, both by Israel and by the Palestinian Authority,
                 for his HAMAS-related activities and was deported to Marj al-Zuhur in
                 1992 along with al-Rantisi and Sham’a. He has served as a lecturer at
                 the Islamic University of Gaza. Taha was arrested numerous times by
                 both Israel and the Palestinian Authority.

                Osama al-Mazini: Al-Mazini was one of the heads of HAMAS’s
                 political leadership, and one of the Movement’s prominent spokesmen.
                 Al-Mazini served as a member of the Administrative Council of Al-
                 Mujama Al-Islami. He also served as a lecturer in the Department of


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                    Psychology at the Islamic University of Gaza. He is married to Ahmed
                    Yassin’s daughter. Al-Mazini was arrested numerous times, both by
                    Israel and the Palestinian Authority.

                   Nizar Muhammad Awd-Allah: Awd-Allah was one of Ahmed
                    Yassin’s closest associates and was involved in the kidnapping and
                    murder of Israeli soldiers Avi Sasportas and Ilan Saadon in 1989 – an
                    act for which Yassin was sentenced to 13 years in prison. Awd-Allah
                    was a member of HAMAS and a senior operative in Al-Mujama Al-
                    Islami. Awd-Allah was appointed as commander of the Qassam
                    Brigades in Gaza, following the arrest of Salah Shehadah in 1988.

                   Maryam Muhammad Yusuf Farhat (Umm Nidal): In 1981, Farhat
                    supervised the women’s activities at Al-Mujama Al-Islami. Her eldest
                    son, Nidal Farhat, joined the Qassam Brigades in 2000, where he
                    oversaw planning and carrying out of numerous operations (such as
                    mortar attacks) against Israelis, and became a HAMAS bombmaker.
                    Farhat encouraged her son, Muhammad, to carry out a suicide attack,
                    and was photographed with him before he departed for the attack. Farhat
                    was elected in 2006 to the Palestinian Legislative Council as part of
                    HAMAS’s Change and Reform Party. She died in 2013.

        640.    Due to its connections to HAMAS, Al-Mujama Al-Islami was temporarily closed

 by the Palestinian Authorities on September 25, 1997. On August 24, 2003, the Palestinian

 Monitory Authority issued an order to freeze Al-Mujama Al-Islami’s bank accounts in all banks in

 the Palestinian Territories, in order to stop funding HAMAS institutions.

        641.    Due to its central role as a supporter of HAMAS’s jihad activity, Al-Mujama Al-

 Islami was declared an unlawful association by the Israeli Minister of Defense on February 25,

 2002, and by the commander of the IDF’s Central Command on June 30, 2002.

        642.    On May 29, 2007, the United States Department of Justice identified Al-Mujama

 Al-Islami as an “organization that operates on behalf of, or under the control of, Hamas” in the list

 of unindicted co-conspirators in the criminal case of United States v. Holy Land Foundation.

        643.    The BANK OF PALESTINE maintained accounts for and provided financial

 services to the Islamic Center of Gaza.



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        644.   The accounts included Account No. 92022, Jabaliya Branch and Account No.

 1103953 (which was still active in 2014)

               3.      The Islamic Society – Gaza (Al-Jam’iya Al-Islamiya)

        645.   Al-Jam’iya Al-Islamiya (the Islamic Society) was founded in the Gaza Strip in 1976

 by Ahmed Yassin and other senior member of the Muslim Brotherhood organization.

        646.   Like Al-Mujama Al-Islami (the Islamic Center), it served as a base for

 disseminating ideology and the political platform of the Muslim Brotherhood in Gaza in the

 seventies.

        647.   From the time of its establishment, Al-Jam’iya Al-Islamiya was a significant

 HAMAS stronghold, operated and controlled by individuals who were identified initially with the

 Muslim Brotherhood and ultimately with HAMAS.

        648.   In September 1997, the Palestinian Authority closed Al-Jam’iya Al-Islamiya, along

 with 16 other societies identified with HAMAS.

        649.   Following a HAMAS terrorist attack in Israel in October 1998, the Palestinian

 Authority began a wave of arrests against HAMAS operatives in Gaza. Among those arrested were

 the Chairman of Al-Jam’iya Al-Islamiya, Sheikh Ahmed Bahar, and other senior personnel in the

 society.

        650.   In December 2001, the Palestinian Authority closed a number of societies run by

 Islamic organizations (HAMAS and Palestinian Islamic Jihad), among them Al-Jam’iya Al-

 Islamiya, and on January 6, 2002, the Palestinian Monetary Authority directed the Palestinian

 banks to report on the sums of money held in the accounts of Al-Jam’iya Al-Islamiya and required

 them to consult with it prior to withdrawing funds from those accounts.

        651.   Al-Jam’iya Al-Islamiya was declared an unlawful association by the Israeli Minister




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 of Defense on February 25, 2002, and by the IDF’s Central Command on June 30, 2002.

        652.    Al-Jam’iya Al-Islamiya official web site has, for many years, featured an image of

 Ahmed Yassin, the founder of HAMAS and of the Society.

        653.    Similarly, senior HAMAS figures regularly participate in Al-Jam’iya Al-Islamiya

 events, and since the mid-1990s, the society has not hidden its affiliation with HAMAS from

 Western journalists, and this fact was published by the leading Western media outlets.

        654.    For example, both The New York Times (“In Gaza, Peace Meets Pathology,”

 November 27, 1994) and the Financial Times (“Fundamentalists Split Palestinian Unity,”

 September 9, 1988) identified the Islamic Society in Gaza as part of HAMAS.

        655.    As early as 1993, an article in the Independent by Sarah Helm described a Gaza

 kindergarten “run by the Islamic Society which is controlled by Hamas, the militant Islamic

 movement.”

        656.    A July 23, 1999 article published by Knight Ridder titled “Hamas wedding a

 political event” noted: “Thursday night’s event was organized by the Islamic Society, the social

 arm of Hamas, the militant Islamic organization better known for the deadly suicide bombings that

 stalled the Israeli-Palestinian peace process in 1996.”

        657.    On January 1, 2002, the BBC Monitoring Service published an article translating a

 HAMAS report (put out by the HAMAS political bureau’s official website) claiming “a large-

 scale campaign” by Palestinian police forces “closing a number of Hamas Islamic Resistance

 Movement and Islamic Jihad-backed institutions and societies.”

        658.    The report identified the Islamic Society of Gaza as one of “[t]he Hamas-backed

 societies.”

        659.    The Mail on Sunday (London) published an article in 2002 about a controversial




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 donation made by the British Consulate in Jerusalem to the Islamic Society of Gaza:

               But our inquiries have revealed the leadership of the Islamic Society,
               known in Arabic as Al Jamayia Al Islamiya is closely associated with
               Hamas and the group has been shut down several times on Yasser Arafat’s
               orders.

               Its secretary general, Sheikh Ahmed Bahar, was arrested by the Palestinian
               Authority’s security forces alongside several Hamas leaders in October
               1998 during a clampdown on terrorism. He was then described by the
               Palestinians as leader of the Hamas splinter group the Islamic National
               Salvation Party.

               Indeed, the Islamic Society makes no secret of its support for the terrorists.
               (Emphasis added.)

        660.   Following are details of some of the important leaders in al-Jam’iya Al-Islamiya:

                  Ahmed Yassin: He was also one of the founders of Al-Jam’iya Al-
                   Islamiya.

                  Ahmed Bahar: Bahar was Chairman of Al-Jam’iya Al-Islamiya
                   between the years 1985 and 2004. Bahar was arrested by the Israeli
                   security forces and was imprisoned several times in Israeli jails, as a
                   result of his membership in HAMAS. One of the Marj al-Zuhur
                   deportees in 1992, he was arrested several times by the Palestinian
                   Authority following terrorist attacks carried out by HAMAS. In June
                   1995 he was arrested by the PA’s Preventive Security, and his beard was
                   shaved off as an act of humiliation by his captors. Ahmed Bahar worked
                   at the Islamic University of Gaza between 2002-2003, as a lecturer in
                   the department of Arabic language and as deputy dean of the Faculty of
                   Arts. Bahar also served as first deputy speaker of the Palestinian
                   Legislative Council on HAMAS’s “Change and Reform Bloc” political
                   party.

                  Muhammad Faraj Mahmud Husain al-Ghul: Al-Ghul is one of the
                   founders of Al-Jam’iya Al-Islamiya, a member of its administrative
                   board and served as its Secretary General. Al-Ghul also worked at the
                   Islamic University of Gaza as a lecturer. Before the outbreak of the
                   Second Intifada, he also served as attorney for senior HAMAS figures
                   imprisoned in Israel, among them Sheikh Ahmed Yassin. Al-Ghul was
                   jailed by Israel between the years 1981 and 1992 for terrorist activities
                   and was one of the Marj al-Zuhur deportees, and 1998 he was arrested
                   by the PA Preventive Security Services.

                  Isma’il Hassan Muhammad Abu Shanab: Abu Shanab was one of the


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                     founders of Al-Jam’iya Al-Islamiya. He also worked at Islamic
                     University of Gaza as a lecturer at the faculty of engineering and as
                     president of the Faculty of Applied Science. Abu Shanab was also
                     Sheikh Yassin’s deputy. He was arrested by Israel in 1989 and
                     imprisoned for 8 years. After his release from Israeli prison, Abu Shanab
                     became political leader of HAMAS until he was killed in 2003.

                    Isma’il Abd al-Salam Ahmed Haniya: Haniya served as a member of
                     administrative board of Al-Jam’iya Al-Islamiya’s senior administrative
                     body and headed its club in Gaza for approximately ten years. Haniya
                     led the Islamic Students Association (al-Kutla al-Islamiya) in the
                     Islamic University of Gaza in the early 1980s and was the head of the
                     Islamic University Student Union in 1985-86. Haniya held several
                     positions at the Islamic University of Gaza, among them Secretary of
                     the Board of Trustees and the University’s Director of Academic
                     Affairs. Haniya was arrested by Israel several times and was also one of
                     the Marj al-Zuhur deportees. He served as Sheikh Yassin’s chief of staff
                     following Yassin’s release from prison in 1997. In 2006, he became
                     “Prime Minister” in the HAMAS government in Gaza and in 2017 was
                     appointed as the overall leader of HAMAS.

        661.    From the early 1990s through 2004, Al-Jam’iya Al-Islamiya enjoyed financial

 support from the Holy Land Foundation in the United States before it was declared a terrorist

 organization by the United States administration and its assets frozen in 2001 as well as CBSP,

 Interpal, Human Appeal International, the Al-Aqsa Foundation – Germany and many other

 HAMAS fundraising organizations.

        662.    BANK OF PALESTINE maintained accounts for and provided financial services

 to the Islamic Society of Gaza.

        663.    The accounts included Account No: 1054079 (Khan Yunis Branch); Account No.

 91999 (Jabalia Branch); Account nos. 332234, 135159 and 89970 (Beit Hanun Branch).

                4.      Al-Salah Islamic Society – Gaza (Jam’iyat Al-Salah Al-Islamiya)

        664.    Al-Salah Islamic Society – Gaza (“al-Salah”) was founded in the town of Dir al-

 Balah in the Gaza Strip in 1978 and was a key part of HAMAS da’wa in Gaza after 1987.

        665.    The al-Salah Society was closed in September 1997 by the Palestinian Authority



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 (along with Al-Mujama Al-Islami and Al-Jam’iya Al-Islamiya in Gaza) as a result of Israeli and

 American pressure on the Palestinian Authority.

        666.    Isma’il Abu Shanab, one of the senior leaders of HAMAS, gave an interview in

 January 2001 to the Jordanian newspaper al-Watan, in which he referred to al-Salah, Al-Mujama

 Al-Islami and Al-Jam’iya Al-Islamiya as integral parts of HAMAS’s social infrastructure.

        667.    An Associated Press article on March 2, 2001 described HAMAS’s successful

 fundraising efforts particularly in the Persian Gulf and Saudi Arabia, adding: “‘With the money

 from Saudi Arabia alone, Islamic activists have distributed 200,000 food packages, and more are

 on the way,’ said Ahmed al-Kourd [sic], head of the Al Salah Charity Committee in Gaza City.”

        668.    Later, as a result of heavy pressure from Israel and the United States on the

 Palestinian Authority following several terrorist attacks, Palestinian security forces from time to

 time arrested the leaders of al-Salah while the Palestinian Monetary Authority temporarily froze

 the bank accounts of al-Salah, in December 2001.

        669.    Al-Salah was declared an unlawful association by the Israeli Minister of Defense

 on February 25, 2002, and by the IDF’s Central Command on June 30, 2002.

        670.    On August 7, 2007, the United States Treasury Department declared al-Salah a

 Specially Designated Global Terrorist (“SDGT”) organization. In a press release announcing the

 declaration, the Treasury stated that:

                HAMAS has used the al-Salah Society, as it has many other charitable
                fronts, to finance its terrorist agenda. ... The al-Salah Society supported
                HAMAS-affiliated combatants during the first Intifada and recruited and
                indoctrinated youth to support HAMAS’s activities. It also financed
                commercial stores, kindergartens, and the purchase of land for HAMAS.
                One of the most senior Gaza-based Hamas leaders and founders, Ismail Abu
                Shanab, openly identified the al-Salah Society as “one of the three Islamic
                charities that form Hamas’s welfare arm.” The al-Salah Society has
                received substantial funding from Persian Gulf countries, including at least
                hundreds of thousands of dollars from Kuwaiti donors.



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        671.    Al-Salah also received funding from several notable radical Islamic charitable

 organizations, which were members of the Itilaf al-Khair (“Union of Good”): Interpal (SDGT),

 CBSP (SDGT), Al-Aqsa Foundation (SDGT) and Holy Land Foundation (SDGT).

        672.    An article published in the December 2005 Issue of Filastin al-Muslima (“Muslim

 Palestine,” the official HAMAS newspaper), reported that from the outbreak of the Second Intifada

 in September 2000 to December 2005, al-Salah’s annual average budget was ten million dollars.

        673.    Ahmad Harb Ahmad al-Kurd served as the chairman of al-Salah and the dominant

 senior figure in the Society during the relevant time period, as well as being a member of the

 “Union of Good” (Itilaf al-Khair) in Gaza.

        674.    Al-Kurd is a senior HAMAS member in Gaza and is considered one of HAMAS’s

 senior da’wa operatives.

        675.    An Agence France Presse report of arrests of HAMAS militants in Dir al-Balah in

 August 1994, referred to the fact that a senior HAMAS figure named Ahmad al-Kurd was detained

 for questioning by the Palestinian security forces.

        676.    On August 7, 2007, the United States declared Ahmad al-Kurd, former Chairman

 and then board member of al-Salah, as a Specially Designated Global Terrorist, and declared (in

 the same press release11 announcing the declaration regarding al-Salah itself):

                The al-Salah Society is directed by Ahmad al-Kurd, a recognized high-
                ranking HAMAS leader in Gaza. Al-Kurd’s affiliation with HAMAS goes
                back over a decade. During the first Intifada, al-Kurd served as a HAMAS
                Shura Council member in Gaza. As of late 2003, al-Kurd was allegedly the
                top HAMAS leader in Deir al-Balah, Gaza. Since mid-2005, he has served
                as the mayor of Deir Al-Balah, elected as a HAMAS candidate.

        677.    He had also served as the minister of welfare and labor in the de facto Hamas

 administration in the Gaza Strip. In February 2017, he was elected as a member of HAMAS’s


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        http://www.ustreas.gov/press/releases/hp531.htm


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 political bureau.

        678.    Several former members on the administrative board of al-Salah, in its various

 branches, were also known as prominent operatives in HAMAS’s da’wa, among them:

                    Osama al-Mazini: al-Mazini was a senior HAMAS operative and one
                     of HAMAS’ political leaders in the Gaza Strip. He was also a member
                     of the Board of al-Salah as well as Al-Mujama Al-Islami (as mentioned
                     before). He was imprisoned by Israel between 1988-1994. Al-Mazini
                     was arrested by the Palestinian Authority as well, following terrorist
                     attacks committed by HAMAS.

                    Salem Salama: Salama was a senior HAMAS member, a member of
                     the administrative board of al-Salah and one of the Marj al-Zuhur
                     deportees. Salama was arrested several times by Israel during the First
                     Intifada.

                    Mansur Abu Hamid: Hamid was a senior member of HAMAS and
                     chairman of the Rafah branch of the al-Salah Society.

        679.    From the early 1990s through 2004, al-Salah enjoyed financial support from the

 Holy Land Foundation in the United States (before it was declared a terrorist organization by the

 United States administration and its assets frozen in 2001) as well as CBSP (SDGT), Interpal

 (SDGT), Human Appeal International, the Al-Aqsa Foundation – Germany (SDGT) and many

 other HAMAS fundraising organizations.

        680.    BANK OF PALESTINE maintained accounts for and provided financial services

 to the al-Salah Islamic Society – Gaza.

        681.    The accounts included Account No: 256754/9 (in both Rafah and Dir al-Balah) and

 Account No. 256754/1.

        682.    BANK OF PALESTINE maintained accounts until at least 2014 – knowing that

 they belonged to HAMAS and knowing that the Al-Salah Islamic Society – Gaza had been

 designated an SDGT in 2007.

        683.    In 2015, after BANK OF PALESTINE finally closed Al-Salah’s accounts, Asmaa


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 al-Kurd (likely the daughter of Ahmad al-Kurd (SDGT)) who was in charge of the “orphans

 division” of Al-Salah, told Al-Monitor, “During the past year, the Bank of Palestine froze the

 accounts of 32 charities operating in the Gaza Strip, including that of the Salah Association. The

 bank also refused to open new accounts for 50 charities, in addition to returning in the past month

 money transfers totaling $2 million that had been sent from donors and associations outside

 Palestine to the poor and orphans.”

        684.    al-Kurd added, “The bank’s policy of closing the accounts of charities is part of the

 siege on Gaza, which is aimed at sparking a revolution of the poor and widows against the Gaza

 government.”

                5.      Al-Wafa Charitable Society – Gaza
                        (Jam’iyat Al-Wafa’ Liri’ayat Al-Musinnin)

        685.    The Al-Wafa Charitable Society was founded in 1980 in the Gaza Strip by the

 Muslim Brotherhood and after 1987 it became a key component of HAMAS’s da’wa network in

 the Gaza Strip, providing medical care to Gazan residents.

        686.    An FBI recording made at the Philadelphia Conference in 1993 referred to the al-

 Wafa Society for the Care of the Elderly as one of “the principal organization known to be

 affiliated with us…”

        687.    The Al-Wafa Charitable Society’s annual budget during the relevant period was

 approximately $10 million dollars.

        688.    It was declared an unlawful association by the Israeli Minister of Defense on

 February 25, 2002 and by the IDF’s Central Command on June 30, 2002.

        689.    The Society’s bank account was confiscated by Israel in February 2004, during IDF

 operations to confiscate the funds of HAMAS associations in Ramallah.

        690.    Many of the Al-Wafa Charitable Society’s key operatives are publicly known to be



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 members of HAMAS. Its principal leaders included:

                  Muhammad Rafiq al-Khudari: Al-Khudari was Chairman of Al-Wafa
                   Charitable Society s Board of Directors during the relevant period. He
                   was known as a senior civilian official in HAMAS and was in regular
                   contact with the HAMAS leadership.

                  Basem Naim Muhammad Naim: Naim served as a member of Al-
                   Wafa Charitable Society’s Board of Directors and was a prominent
                   HAMAS operative in the Gaza Strip. He later served as “Health
                   Minister” in the HAMAS government in Gaza.

                  Dr. Muhammad Abd al-Hadi Abd al-Rahman Muhammad Shihab:
                   Shihab served as General Secretary for Al-Wafa Charitable Society
                   Hospital’s pharmacies and medical supplies department and was a
                   prominent HAMAS leader and was later elected as a member of the
                   Palestinian Legislative Council for HAMAS’s Change & Reform Party.

                  Taysir Nasr al-Baltaji: Al-Baltaji is the Director General of Al-Wafa
                   Charitable Society and Al-Wafa Hospital. He was one of the HAMAS
                   leaders at the Islamic University of Gaza in 1985 and was known as a
                   senior civilian official in HAMAS.

                  Salah al-Rantisi: Rantisi was a board member of Al-Wafa Charitable
                   Society and also the Director of Social Health Department in the de
                   facto HAMAS Health Ministry in Gaza. Rantisi is the younger brother
                   of deceased HAMAS leader Abd al-Aziz al-Rantisi.

                  Muhi al-Din Saleh al-Hilu: Al-Hilu was a member of the board of the
                   Al-Wafa Charitable Society. Al-Hilu is also the headmaster of Dar al-
                   Arqam school which belongs to HAMAS.

                  Hazem al-Nakhala: Al-Nakhala is a member of the board of the Al-
                   Wafa Charitable Society. He is also the head of the Institutions
                   Committee in HAMAS’s Public Relations Department.

                  Jamal al-Zabda: Zabda was the chairman of the Al-Wafa Charitable
                   Society. He was also a professor at the Islamic University of Gaza, Dean
                   of Community Service and Continuing Education and a member of the
                   University’s board. In 2003, Zabda was elected on the HAMAS list to
                   the Palestinian Engineers Association in Gaza.

        691.   BANK OF PALESTINE maintained multiple accounts for the Al-Wafa Charitable

 Society, including Account No. 521934 (in “Dollars-Dinars-Shekels-Euros”) and Account No.


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 521934/11, which remains open as of this date.

 III.    BANK OF PALESTINE PROVIDED BANKING SERVICES TO NOTORIOUS
         HAMAS INSTITUTIONS

         692.    As alleged above, HAMAS operates a social service network through local “zakat”

 committees and “charitable” societies. BANK OF PALESTINE has knowingly provided financial

 services to these organizations and affirmatively assisted them in collecting, receiving,

 transmitting and distributing funds to support HAMAS’s terror campaign.

         693.    BANK OF PALESTINE knowingly provided financial services and thereby aided

 and abetted HAMAS by receiving, holding and transferring funds for the following HAMAS

 institutions:

                ISLAMIC UNIVERSITY OF GAZA
                 Account No. 1100280 (active account)
                 Account No. 1112222, Rimal branch

                AL MUJAMA AL ISLAMI (ISLAMIC CENTER – GAZA)
                 Account No. 1103953 (active account)
                 Account No. 92022, Jabalia Branch

                AL JAM’IYA AL ISLAMIYA (ISLAMIC SOCIETY – GAZA)
                 Account No. 89970, Beit Hanun Branch
                 Account No. 1054079
                 Account No. 91999, Jabalia Branch
                 Account No. 332234
                 Account No. 135159

                AL SALAH ISLAMIC SOCIETY
                 Account No. 256754/9 (Dir al-Balah and Rafah Branches)
                 Account No. 256754/1

                AL WAFA CHARITABLE SOCIETY
                 Account No. 521934
                 Account No. 521934/11 (active account)


         694.    On August 23, 2003, the Palestinian Prime Minister and Minister of Interior,

 Mahmud Abbas, and the Minister of Security, Muhammad Dahlan, took official steps against


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 HAMAS when they identified Al-Jam’iya Al-Islamiya and at least ten other organizations as part

 of HAMAS. The next day, the Palestinian Monetary Authority placed a temporary freeze on the

 bank accounts of Al-Jam’iya Al-Islamiya and other HAMAS organizations.

         695.    In the Order forwarded to the Palestinian Prosecutor General on August 24, 2003,

 then-Prime Minister and Minister of the Interior Mahmoud Abbas justified the freeze on the

 accounts by saying that it was a matter of “security issues” and “requirements for the public

 interest.”

         696.    In a letter written to then-Minister of the Economy Salam Fayyad, then-Palestinian

 Minister of Internal Security Muhammad Dahlan openly declared that the steps that had been taken

 were directed against “Hamas organizations.” The letter described the demand to freeze the

 accounts as stopping support for “Hamas Institutions.”

         697.    Nevertheless, public outcry in the Palestinian Territories led the new Palestinian

 Cabinet to officially cancel the freeze order on November 17, 2003.

         698.    These actions not only provided BANK OF PALESTINE with (further) actual

 notice that specific account holders were part of HAMAS, but also that its own government and

 nominal regulator was aware of that fact.

         699.    Notwithstanding all the foregoing, BANK OF PALESTINE knowingly maintained

 accounts and provided critical financial services to HAMAS through its services to the core

 HAMAS institutions until at least 2014.

         700.    BANK OF PALESTINE did so knowing the importance of commercial banking

 services to HAMAS and the bank’s ability to facilitate cross-border funds transfers, particularly in

 U.S. dollars.

         701.    BANK OF PALESTINE was aware of the then-commonplace culture of lax due




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 diligence at U.S. correspondent banks and the well-known deficiencies of the relatively new

 Palestinian Monetary Authority’s banking oversight capabilities.

         702.    As a “local bank” rooted in the Palestinian Territories, BANK OF PALESTINE

 understood its customer base in Gaza, that customer base’s support for and reliance on HAMAS

 institutions and chose to provide vital financial services to HAMAS (even today) knowing (a) that

 HAMAS has been designated an FTO, (b) that it engages and has always engaged in horrific acts

 of violence, and (c) that HAMAS is dependent upon access to the international financial system

 and particularly U.S. dollar-clearing to collect the funds it needs to sustain its extensive

 infrastructure in the Palestinian Territories.


                                       CLAIM FOR RELIEF

    AIDING AND ABETTING HAMAS, A FOREIGN TERRORIST ORGANIZATION,
                    IN VIOLATION OF 18 U.S.C. § 2333(d)

         703.    Plaintiffs repeat and re-allege the allegations of the foregoing paragraphs as if fully

 set forth herein.

         704.    Plaintiffs were all injured by acts of international terrorism as defined by 18 U.S.C.

 § 2331 that were committed, planned and authorized by HAMAS, a designated FTO at the time

 each act of terrorism described occurred.

         705.    BANK OF PALESTINE provided substantial assistance to HAMAS by

 transferring significant sums of money to HAMAS and its operatives and maintaining bank

 accounts for its senior operatives and key institutions.

         706.    BANK OF PALESTINE was fully aware of HAMAS’s conduct, including its

 campaign of suicide bombings and other terrorist acts.

         707.    BANK OF PALESTINE’s own actions substantially assisted HAMAS and its




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 conduct foreseeably aided HAMAS in committing acts of terrorism of the kind that injured the

 plaintiffs.

         708.   BANK OF PALESTINE understood the value and importance to HAMAS of the

 bank’s role in facilitating large transfers of funds, including U.S. dollars, from donors and co-

 conspirators around the world and making those funds available to HAMAS.

         709.   Plaintiffs allege that BANK OF PALESTINE knowingly aided and abetted

 HAMAS within the meaning of 18 U.S.C. § 2333(d) and within the legal framework of Halberstam

 v. Welch, 705 F.2d 472 (D.C. Cir. 1983), which Congress has found to provide “civil litigants with

 the broadest possible basis” for relief against those “that have provided material support, directly

 or indirectly, to foreign organizations or persons that engage in terrorist activities against the

 United States.” See Justice Against Sponsors of Terrorism Act (“JASTA”), §2b.


                                     PRAYER FOR RELIEF

 WHEREFORE, plaintiffs prays that this Court:

                (a)     Accept jurisdiction over this action;

                (b)     Enter judgment against BANK OF PALESTINE and in favor of plaintiffs
                        for compensatory damages in amounts to be determined at trial;

                (c)     Enter judgment against BANK OF PALESTINE and in favor of plaintiffs
                        for treble damages pursuant to 18 U.S.C. § 2333(a);

                (d)     Enter judgment against BANK OF PALESTINE and in favor of plaintiffs
                        for any and all costs sustained in connection with the prosecution of this
                        action, including attorneys’ fees, pursuant to 18 U.S.C. § 2333(a); and

                (e)     Grant such other and further relief as justice requires.



 PLAINTIFFS DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




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 January 1, 2019


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